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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

GILBERT P. HYATT,

                      Plaintiff,

       v.
                                                 Civil Action No. 1:05-cv-2310 (RCL)
ANDREI IANCU, Under Secretary of
Commerce for Intellectual Property and
Director of the United States Patent and
Trademark Office,

                      Defendant.


     USPTO’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW



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                                       INTRODUCTION

       Defendant Andrei Iancu, 1 Under Secretary of Commerce for Intellectual Property and

Director of the United States Patent and Trademark Office (“USPTO”), respectfully submits the

USPTO’s proposed findings of fact and conclusions of law.

       Mr. Hyatt filed a patent application in 1984 that describes, in over 650 pages of text and

figures, a system for manipulating images on a screen by rotating, sliding, and zooming. His

explanation includes something that he called a “window” that is in the computer’s memory and

is not visible to the user. Mr. Hyatt amended his claims a number of times and, fifteen years later,

in 1999, filed the claims that are now at issue. By 1999, the term “window” had taken on a much

different and more valuable meaning in computing and to the general public. Mr. Hyatt’s claims

now recite a type of window that is visible on the user’s screen, can be overlapped to run multiple

applications at once, includes interactive features such as menus and icons, and allows the user to

interact directly with the display monitor by, for example, clicking on a pull-down menu or

choosing a menu option. Those claimed inventions are not described in Mr. Hyatt’s original

specification, and that lack of written description means the claims have correctly been rejected

by the USPTO and should also be rejected by this Court.

       Mr. Hyatt seeks a judgment that—on the issues tried before this Court—the pending claims

have sufficient written description. Mr. Hyatt’s current claims all include “windows,” which

overlay each other and include interactive features such as menus and icons. All of the claims

have been rejected based on a failure to describe the term “window.” The USPTO also rejected

claims for a failure to describe the term “menu” and addressed the use of the term “icon.” And a



1
 Andrei Iancu has been automatically substituted as the defendant in this action. Fed. R. Civ. P.
25(d).



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subset of the claims recite “making a product,” which this Court has explained is neither described

nor enabled, two requirements under 35 U.S.C. § 112. Furthermore, the USPTO has demonstrated

that all of the claims fail for lack of enablement because they all require multiple channels and a

multiplexer/demultiplexer/combiner, which Mr. Hyatt never built and did not sufficiently explain

how to build.

        This case is not about whether Mr. Hyatt disclosed a patentable invention; the USPTO said

he did decades ago in issuing a notice of allowance on the application that is a parent to the

application at issue and contains the same disclosure. The problem is that since then, Mr. Hyatt

has tried to patent more than he invented. He has taken bits and pieces mentioned in his

specification and assembled them into “inventions” that he neither conceived nor described in

1984. It is as if he described a process of etching on a stone tablet, kept the examination process

going until Apple invented the iPad, then wrote claims to cover the iPad tablet and demanded

royalties for iPad sales. He cannot do that; he is entitled to claim only the invention he described

in his specification.

                    STATUTORY AND REGULATORY BACKGROUND

        A.      Before any patent can issue, an application must undergo a back-and-
                forth examination process between the USPTO and the applicant

        1.      The USPTO examines patent applications and is charged with determining when

patents should issue. See, e.g., In re Alappat, 33 F.3d 1526, 1535 (Fed. Cir. 1994) (en banc).

Indeed, “[t]he [Director] has an obligation to refuse to grant a patent if he believes that doing so

would be contrary to law.” Id. Thus, the USPTO, beginning with an examiner who has the relevant

scientific or technical competence, examines the application. In re Berg, 320 F.3d 1310, 1315

(Fed. Cir. 2003). If the examiner believes the claims are unpatentable for any reason, he is

obligated to reject them. Alappat, 33 F.3d at 1535.



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          2.   A patent application consists of a written description, which describes the

invention, 35 U.S.C. § 112, and one or more claims, which “provide[ ] the metes and bounds of

the right which the patent confers on the patentee to exclude others,” Corning Glass Works v.

Sumitomo Elec. U.S.A., Inc., 868 F.2d 1251, 1257 (Fed. Cir. 1989). Because the applicant’s rights

will be determined by the scope of the claims, much of the examination process focuses on the

claims.

          3.   Specifically, patent examination (also known as “prosecution”) generally consists

of a back-and-forth between the patent examiner and the applicant. The examiner initially looks at

each proposed claim and reviews it for novelty, support in the written description, and compliance

with the USPTO’s other statutory directives and rules. See, e.g., 35 U.S.C §§ 101, 102, 103, 112.

After initial examination, the examiner sends the applicant an “office action,” which may allow or

reject each claim. If claims are rejected, the applicant may respond with amendments, evidence of

patentability, arguments in favor of patentability, or some combination thereof. The written

description in the specification remains fixed, and the applicant may add, delete, or modify the

claims. The goal of this back-and-forth communication is to either reach an agreement on

allowable claims or have the examiner and the applicant set forth their positions in the

administrative record for appeal to the Board. 35 U.S.C. § 134. After the Board hears an

applicant’s appeal, if the applicant is dissatisfied with the Board’s decision, he may seek review

of that decision in court. He may choose to appeal the Board’s decision to the Federal Circuit

(35 U.S.C. § 141(a)) or may seek to overturn the Board’s decision in district court (35 U.S.C.

§ 145), as Mr. Hyatt has done here.

          4.   A section 145 action is a hybrid action—partly an appeal and partly a new

evidentiary proceeding. Unlike an appeal, new evidence can be added in a section 145 action. But




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like an appeal, the Board’s decision forms the evidentiary nucleus of the case. See Hyatt v.

Kappos, 625 F.3d 1320, 1322 (Fed. Cir. 2010) (en banc), aff’d, 566 U.S. 431 (2012). Thus, fact-

findings made by the Board untouched by any new evidence are reviewed by this Court with the

deference given under the Administrative Procedure Act (APA)—a substantial-evidence

review. Id. at 1336 (“When the court reviews a case on the administrative record—that is, when

no party introduces new evidence—the court applies the APA standard of review to Patent Office

fact findings.”). With regard to any new evidence that is admissible, this “court must make a de

novo finding when new evidence is presented on a disputed question of fact.” Kappos v. Hyatt,

566 U.S. 431, 434 (2012). And this Court “must assess the credibility of new witnesses and other

evidence, determine how the new evidence comports with the existing administrative record, and

decide what weight the new evidence deserves.” Id. at 444. In deciding the weight to afford to

the new evidence, this Court may “consider the proceedings before and findings of the Patent

Office.” Id. at 445 (quoting Hyatt, 625 F.3d at 1335). As to new evidence, the applicant bears the

burden of proof by a preponderance of the evidence. Disney Enters., Inc. v. Rea, 940 F. Supp. 2d

288, 292 (E.D. Va. 2013)

       B.      A patent must satisfy the written description, enablement, and
               definiteness requirements

       5.      In examining a patent application, the USPTO determines, among other things,

whether the application satisfies the requirement of 35 U.S.C. § 112 that “[t]he specification . . .

contain a written description of the invention, and of the manner and process of making and using

it, in such full, clear, concise, and exact terms as to enable any person skilled in the art to which it

pertains, or with which it is most nearly connected, to make and use the same.”

       6.      “The essence of the written description requirement is that a patent applicant, as

part of the bargain with the public, must describe his or her invention so that the public will know



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what it is and that he or she has truly made the claimed invention.” AbbVie Deutschland GmbH

& Co., KG v. Janssen Biotech, Inc., 759 F.3d 1285, 1298 (Fed. Cir. 2014). The purpose of the

written description requirement “is to ‘ensure that the scope of the right to exclude, as set forth in

the claims, does not overreach the scope of the inventor’s contribution to the field of art as

described in the patent specification.’ It is part of the quid pro quo of the patent grant and ensures

that the public receives a meaningful disclosure in exchange for being excluded from practicing

an invention for a period of time.” Ariad Pharms., Inc. v. Eli Lilly and Co., 598 F.3d 1336, 1353-

1354 (Fed. Cir. 2010) (en banc) (citations omitted). Thus, even though claims can be added at a

time after the specification was filed, the claimed invention must always be described in the

original specification.

        7.      Determining whether the written description requirement has been met “requires

an objective inquiry into the four corners of the specification from the perspective of a person of

ordinary skill in the art. Based on that inquiry, the specification must describe an invention

understandable to that skilled artisan and show that the inventor actually invented the invention

claimed.” Ariad, 598 F.3d at 1351.

        8.      The Federal Circuit has explained, “The purpose of the ‘written description’

requirement is broader than to merely explain how to ‘make and use’; the applicant must also

convey with reasonable clarity to those skilled in the art that, as of the filing date sought, he or she

was in possession of the invention.” Vas-Cath Inc. v. Mahurkar, 935 F.2d 1555, 1563-64 (Fed.

Cir. 1991). A “patent is not a hunting license. It is not a reward for the search, but compensation

for its successful conclusion.” Ariad, 598 F.3d at 1353. The applicant must—as of the filing

date—“conceive of the complete and final invention with all its claimed limitations [] and disclose

the fruits of that effort to the public.” Id. As the Federal Circuit recently explained, a claim should




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be rejected as violating the written description requirement when the claim recites “a technically

difficult solution that the . . . specification does not solve, let alone contemplate or suggest as a

goal or desired result.” Cisco Systems, Inc. v. Cirrex Systems, LLC, 856 F.3d 997, 1010 (Fed. Cir.

2017).

         9.    Enablement is a separate inquiry from written description and is a question of law,

based on underlying facts. Sitrick v. Dreamworks, LLC, 516 F.3d 993, 999 (Fed. Cir. 2008). “In

order to satisfy the enablement requirement of § 112, paragraph 1, the specification must enable

one of ordinary skill in the art to practice the claimed invention without undue experimentation.

Thus, with respect to enablement the relevant inquiry lies in the relationship between the

specification, the claims, and the knowledge of one of ordinary skill in the art. If, by following

the steps set forth in the specification, one of ordinary skill in the art is not able to replicate the

claimed invention without undue experimentation, the claim has not been enabled as required by

§ 112, paragraph 1.” National Recovery Techs., Inc. v. Magnetic Separation Systems, Inc., 166

F.3d 1190, 1196 (Fed. Cir. 1999).

         10.   And the claims must also be sufficiently definite, under § 112, ¶ 2, which requires

that the claims “particularly point[] out and distinctly claim[] the subject matter which the inventor

. . . regards as his invention.” A pending claim is indefinite if its metes and bounds are ill-defined

because the claim contains words or phrases whose meaning is unclear. See In re Packard, 751

F.3d 1307, 1310 (Fed. Cir. 2014) (citing MPEP § 2173.05(e)); see also MPEP § 2173.02(I) (9th

ed. Rev. 7, Nov. 2015) (advising examiners that a rejection for indefiniteness is appropriate “after

applying the broadest reasonable interpretation to the claim, if the metes and bounds of the claimed

invention are not clear”); cf. Nautilus Inc. v. Biosig Instruments, Inc., 134 S. Ct. 2120, 2129 (2014)

(A “patent must be precise enough to afford clear notice of what is claimed, thereby appris[ing]




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the public of what is still open to them.” (internal quotation marks and citations omitted)). Claim

clarity keeps the rights conferred by a patent commensurate with the invention’s contribution to

the art. Packard, 751 F.3d at 1313 (explaining that the claim language must be as precise as the

subject matter reasonably permits).

                          USPTO’S PROPOSED FINDINGS OF FACT

       A.        This is an action to overturn an agency decision that Mr. Hyatt’s claims
                 are unpatentable

       11.       This is a civil action under 35 U.S.C. § 145 in which plaintiff Gilbert Hyatt is

seeking to overturn a decision by the Board of Patent Appeals and Interferences (“Board”) 2 that

certain claims of U.S. Patent Application No. 08/457,211 (“the ’211 application”) are not

patentable. PTX4.8-9.

       12.       There are 208 claims from the ’211 application currently pending before the Court.

The claims in dispute are 131, 132, 134, 135, 139, 151, 152, 156, 157, 159, 160, 172-177, 194-

197, 199, 200, 202, 210, 211, 236-238, 250-256, 266-269, 271-277, 282, 283, 287-291, 298, 299,

306, 307, 314-318, 322, 323, 331, 332, 334-336, 340, 341, 343-346, 350-358, 360, 362-367, 369,

375, 377, 379-386, 388-391, 393-395, 398, 399, 401-406, 408-411, 413-421, 423-425, 427, 428,

430, 432-440, 442, 443, 445, 447-450, 452-455, 457-464, 466-478, 480-488, 490-492, 494-505,

and 508-513. 3



2
 The Board of Patent Appeals and Interferences was renamed the Patent Trial and Appeal Board
effective September 16, 2012. 35 U.S.C. § 6(a).
3
 Mr. Hyatt’s proposed findings of fact references some other claims as allegedly being before the
Court. Hyatt FF, ECF No. 227, p. 1 and ¶¶ 254, 499, 505, 518, 572, 574 (each listing claims 126,
168, 169, 221, 222, 235, 285, 329, 338, 348, 349, and 361 as being before the Court). But Mr.
Hyatt dropped those claims before trial. Trial Tr., Dec. 4, 2017, AM, 4:19-5:2 (listing claims 126,
168, 169, 221, 222, 235, 285, 329, 338, 348, 349, and 361 as claims that Mr. Hyatt was
“withdrawing”).



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       13.        All of the claims are subject to a written description rejection under 35 U.S.C. § 112

¶1. 4 All of the claims have been rejected based on a failure to describe the term “window.”

       14.        A subset of the claims have been rejected based on a failure to describe the term

“menu.” Sixty-three of the claims at issue include the term “menu”: claims 134, 135, 172-174,

199, 200, 236, 250, 251, 268, 269, 271-273, 316-318, 332, 340, 345, 350, 351, 355, 356, 367, 375,

377, 379-386, 388-391, 393-395, 398, 424, 425, 427, 449, 450, 452, 453, 459-462, 472-476, 503,

508, and 509. 5

       15.        Another subset of the claims have been rejected based on a failure to describe the

term “icon.” Eleven of the claims at issue include the term “icon”: claims 159, 160, 236-238, 415-

419 and 510. 6




Mr. Hyatt’s list of all of the claims at issue (Hyatt FF, p.1 and ¶ 574) appears to drop independent
claims 266, 274, 282, 290, 298, 306, 314, and 322. But because Mr. Hyatt independently asserted
the written description of those claims in his proposed findings of fact, the USPTO understands
that omission to be a mistake and includes those claims in its list of claims at issue.

The USPTO’s list of claims at issue differs from the list in the USPTO’s pretrial statement (ECF
No. 201 at 3 n.3) also because Mr. Hyatt withdrew several dependent claims based on the Board’s
affirmance of the rejections of those claims for lack of enablement. See Pretrial Hearing Tr., Nov.
28, 2017, 5:15-22; id. at 9:24-10:6. Those are dependent claims 133, 201, 257, 278, 378, 422, 426,
431, 441, 446, 456, 479, and 489. See DX2012.9. Mr. Hyatt also appears to have withdrawn
dependent claim 397 because he has not asserted the validity of that claim anywhere in his
proposed findings of fact, nor was it mentioned at trial. See Hyatt FF, p.1 and ¶ 574.
4
  The Leahy-Smith America Invents Act (“AIA”) amended section 112 such that the written
description requirement is now found in 35 U.S.C. § 112(a). Because this is a pre-AIA case, the
USPTO will refer to the older version of the statute.
5
  This list differs from Mr. Hyatt’s list (Hyatt FF, ¶ 570) because it includes the dependent claims
that depend on independent claims reciting the word “menu.” Those claims incorporate all of the
terms in the independent claims, including the word “menu.”
6
  Again, this list differs from Mr. Hyatt’s list (Hyatt FF, ¶ 571) because it includes the dependent
claims that depend on independent claims reciting the word “icon.” Those claims incorporate all
of the terms in the independent claims, including the word “icon.”



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        16.     Another subset of the claims—all of the dependent claims at issue—recite “making

a product,” “making a signal product,” or the like. Those are claims 132, 135, 152, 157, 160, 173,

174, 176, 177, 195, 197, 200, 211, 237, 238, 251, 253, 254, 256, 267, 269, 272, 273, 275, 277,

283, 288, 289, 291, 299, 307, 315, 317, 318, 323, 331, 332, 334-336, 340, 341, 343-346, 350-358,

360, 362-367, 369, 377, 379, 380, 382-384, 386, 388, 389, 391, 393, 395, 398, 401-404, 406, 408,

409, 411, 413, 414, 416-419, 421, 423, 425, 427, 430, 432, 433, 435-438, 440, 442, 445, 447, 448,

450, 452, 453, 455, 457, 458, 460-462, 464, 466, 468-471, 473-476, 478, 480, 481, 483-486, 488,

490, 492, 494, 495, and 497-499. Thus a total of 140 of the pending claims contain the “making

a product” limitation. 7 The Board rejected several claims for failing to describe or enable “making

a product.” See DX2011.19-39; DX2012.7-9. Mr. Hyatt has dropped all of the claims that the

Board rejected on that basis. But even if the Board did not reject them on that basis, all 140 of the

pending “making a product” claims contain those limitations. And, of course, all of the dependent

claims have been rejected for lack of written description at least on the basis that they recite the

word “window.”

        17.     Finally, all of the claims at issue require multiple channels and a multiplexer/

demultiplexer/combiner. As the USPTO’s evidence showed, the claims are therefore also not

enabled.

        18.     Plaintiff Gilbert Hyatt is the owner of the ’211 application. PTX4.5. The ’211

application names Mr. Hyatt as the inventor. Id.

        19.     Defendant Andrei Iancu is the Under Secretary of Commerce for Intellectual

Property and Director of the United States Patent and Trademark Office.


7
  This list, like the list of all of the claims at issue, differs from Mr. Hyatt’s list because Mr. Hyatt
dropped a number of the claims on his list before trial but mistakenly included them in his proposed
findings of fact. Supra ¶ 12 n.3.



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        20.    This Court has jurisdiction under 35 U.S.C. § 145 and 28 U.S.C. §§ 1331 and

1338(a). 8

        B.     The USPTO called Dr. Castleman as its expert witness in this case;
               plaintiff called Mr. Hyatt as a fact witness and Mr. Hite as an expert
               witness

        21.    The USPTO called one witness in support of its case, Dr. Kenneth Castleman. The

Court accepted Dr. Castleman as an expert in the subject matters of digital imaging, video

processing, and the memory design and architecture of such systems. Trial Tr. (Case No. 09-

1872), Nov. 15, 2017, PM, 28:12-21. 9 Mr. Hyatt’s counsel did not oppose. Id. Mr. Hyatt’s expert

witness agreed that Dr. Castleman was qualified to serve as an expert in this case. Trial Tr., Jan.

18, 2018, 37:23-25.

        22.    Dr. Castleman received his bachelor’s degree, master’s degree, and Ph.D. in

electrical engineering, all from the University of Texas at Austin. DX2022.3.

        23.    Dr. Castleman worked at NASA’s Jet Propulsion Laboratory developing hardware

related to digital imaging. Trial Tr. (Case No. 09-1872), Nov. 15, 2017, PM, 19:14-21:4. After

leaving the Jet Propulsion Laboratory, Dr. Castleman returned to NASA to assist in the image

analysis of the Challenger and Columbia space shuttle accidents. Id. at 21:5-22:19.

        24.    Dr. Castleman enjoyed a long career in the private sector designing and building

image processing systems. Trial Tr. (Case No. 09-1872), Nov. 15, 2017, PM, 22:20-24:15;

DX2022.1-2.


8
 In 2005 when this suit was filed, a proceeding under section 145 had to be filed in the United
States District Court for the District of Columbia. Since that time, section 145 has been amended,
and such suits must now be filed in the United States District Court for the Eastern District of
Virginia. See 35 U.S.C. § 145.
9
 Although the testimony was taken at trial in Case No. 09-1872, the parties agreed in this case to
designate that testimony to avoid repeating it. ECF No. 220.



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       25.     Dr. Castleman has taught college courses related to image processing. Trial Tr.

(Case No. 09-1872), Nov. 15, 2017, PM, 24:16-25:3. He wrote college-level textbooks on image

processing, including Digital Image Processing (1979 and 1996 editions). Id. at 25:11-26:13;

DX2022.1. Dr. Castleman has published over 60 scientific articles in technical journals. Trial Tr.

(Case No. 09-1872), Nov. 15, 2017, PM, 26:14-22; DX2022.3-8.

       26.     Dr. Castleman has prior experience serving as an expert witness in intellectual

property cases. Trial Tr. (Case No. 09-1872), Nov. 15, 2017, PM, 26:23-27:21. He has served as

an expert in approximately 33 cases. Id.; DX2022.8-14.

       27.     Plaintiff called Mr. Hyatt as a fact witness and Mr. Bradford Hite as an expert

witness.

       C.      The ’211 application discloses a system for rotating, sliding, expanding,
               and compressing an image

       28.     The ’211 application, titled “Improved Image Processing Architecture”

(DX2002.75), discusses a system for displaying images on a screen.

       29.     The specification discusses image processing “capable of geometrically

manipulating a highly detailed image in true real time; such as for simultaneous rotation,

translation, expansion, compression, 3D perspective, and warping at a 30-times per second update

rate.” DX2002.90; see Trial Tr., Jan. 18, 2018, 125:19-126:4. The static image that is manipulated

can be imported “from a video camera or from a database memory.” DX2002.90. In the ’211

specification, the terms rotation, translation, expansion, compression, 3D processing, and warping

are each described in the context of a flight simulator application in which an operator uses

joysticks to control a virtual airplane.       DX2002.113-114 (discussing “flight simulator

application”); DX2002.128; DX2002.131; DX2002.217 (discussing movement using a joystick).

The user is looking out a window of the airplane cockpit and sees the ground below. See, e.g.,



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DX2002.520 (“The moving map display can be implemented . . . as if the display is a special

optical window in the floor of the cockpit.”). For example, as the user operates the joystick to

move the simulated airplane higher, the user sees objects shrink to look farther away; as the

simulated airplane turns, objects rotate. DX2002.113-114; DX2002.128 (describing rotation);

DX2002.131 (describing shrinking).

         30.   The system described in the ’211 specification relies on having two monitors.

DX2002.15 (showing separate “interface” and “mainframe”). One is an input terminal monitor

that is connected to input devices such as a keyboard or joystick, in which the user inputs

commands, sets up initial conditions, and selects an image to be displayed. DX2002.90-91 (“user

interface comprising a computer terminal with keyboard, joysticks, or trackball”). For example,

the input terminal monitor may show a menu for setting initial conditions of the system.

DX2002.622; Trial Tr., Jan. 18, 2018, 131:10-16 (Dr. Castleman: “The software running in the

supervisory processor displays a menu of options on the terminal screen. And the operator can

read the menu and select a number that corresponds to one of the options and then press the

corresponding key on the keyboard, thereby causing the computer to execute that option.”). The

other monitor is an output monitor—or “display monitor”—that shows the image. DX2002.105

(“The processed image is scanned out to [the] display monitor.”). The user can see what is output

on the output monitor and, for example, rotate the image, but the output on the output monitor does

not get fed back to the processor in any way. There is a one-directional flow of information, and

the user cannot click on anything shown on the output monitor. 10 Trial Tr., Jan. 18, 2018, 131:17-

132:7.



10
  Mr. Hyatt asserts that the specification describes a “feed forward” and “feed backward” flow of
image information. Hyatt FF, ¶ 53. But this “feed backward” does not flow from the output
monitor back to the processor. As figure 1A shows, the only arrows connected to the two output


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        31.     Mr. Hyatt maintains that he built an “experimental system” that “embod[ies] the

invention claimed in the ’211 Application.” DX2002.105; Trial Tr., Dec. 4, 2017, AM, 32:10-15,

36:6-12 (Mr Hyatt: “I reduced [the ’211 application] to practice in the experimental system.”). 11

The experimental system includes these two separate devices: an “interface” or “terminal” for

inputting commands, shown below left, and a separate output monitor for output, shown below

right. The terminal monitor shows only text, while the output monitor shows an image but does

not accept any direct user input.




devices 110K flow into the output devices. DX2002.9. Any backward flow of information ends
at the “spacial [sic] mux/demux” 110I. Id.
11
   Without citing any supporting authority, Mr. Hyatt asserts that: (1) he submitted a video of his
experimental system to the USPTO via its disclosure document program; (2) the USPTO was
supposed to keep these disclosure documents forever; and (3) the USPTO lost the video. Hyatt FF
¶¶ 4, 35. Mr. Hyatt has an incorrect understanding of the USPTO’s disclosure document program.
During its existence, the disclosure document program permitted applicants to file a paper
including a disclosure of an invention. MPEP § 1706 (Fifth Ed. Aug. 1983), available at
https://go.usa.gov/xnske. Notably, the MPEP explained that the “Disclosure Document is not a
patent application, and the date of its receipt in the Patent and Trademark Office” was not an
“effective filing date of any patent application subsequently filed.” Id. Further, the MPEP
explained that any filed disclosure document would be preserved for only two years and then
“destroyed unless it is referred to in a separate letter in a related patent application filed within the
two year period.” Id. The disclosure document program was limited to “written matter or drawings
on paper or other thin, flexible material, such as linen or plastic drafting material.” Id. While
photographs were allowable, videos were not permitted. Id. Finally, contrary to Mr. Hyatt’s
contentions (Hyatt FF, ¶ 42; Trial Tr., Dec. 4, 2017, PM, 16:23-17:10), even properly filed
disclosure documents cannot be incorporated by reference to support the written description in a
patent application. 37 C.F.R. 1.57(d) (only U.S. patents or published U.S. patent applications may
be incorporated by reference to support written description).



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DX2039; DX2040.

       32.     In the experimental system Mr. Hyatt built, a single image is displayed on the

output monitor. Trial Tr., Dec. 4, 2017, PM, 66:23-67:1 (“Because I only had a single channel

here, all of these overlays were in one image memory. Therefore, when I transformed them, they

all transformed together, they all moved together.”). That image is accessed from a database. The

single image may be composed of more than one part, but the image moves as one. Trial Tr., Dec.

4, 2017, PM, 66:23-67:1, 68:15-18 (“This is done with the experimental system which is a single

channel version. And, therefore, I overlapped and overlaid these two images in the single-image

memory; and, therefore, the transformation is the same for both of them.”); see PTX200; PTX332;

Trial Tr., Dec. 6, 2017, AM, 7:6-8:1 (Mr. Hite describing “destructive overlays” in which original

information is replaced when part of an image is covered up); Hyatt FF, ¶ 133 (discussing

“permanent” overlays). The different parts—for example the rectangle at the top left and the

rectangle at the top right shown in DX2040—cannot move independently of each other. One

rectangle cannot move left while the other stays stationary; they cannot rotate independently of

each other. Id.; Trial Tr., Jan 18, 2018, 132:23-133:15.

       33.     If Mr. Hyatt had wanted his system to display more than one image that can move

independently, Mr. Hyatt’s disclosure states that more than one channel would have to be used.



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DX2002.91. Each independent image would be displayed on a different channel. Id.; Trial Tr.,

Dec. 5, 2017, AM, 23:21-23 (Mr. Hyatt: “In order to move . . . the different images independently

to each other, we need multiple channels in order to implement that.”); Trial Tr., Dec. 4, 2017,

PM, 35:22-24 (Mr. Hyatt: “we have all of these channels which can independently transform

different images and position them, and then overlay them, and then display them”); Trial Tr., Jan.

18, 2018, 44:5-12 (Mr. Hite agreeing that each independent image (nondestructive overlay)

requires a separate channel). To combine the images onto one monitor, where they could overlap

each other and move independently of each other, Mr. Hyatt’s disclosure states that a “geometric

multiplexer/demultiplexer/combiner” is used. DX2002.91. Mr. Hyatt’s experimental system did

not have a geometric multiplexer/demultiplexer/combiner. 12 See DX2002.105-107 (describing

elements of experimental system, which do not include multiplexer/demultiplexer/combiner);

Trial Tr., Dec. 4, 2017, AM, 43:15-44:19 (Mr. Hyatt describing experimental system and not

mentioning any multiplexer/demultiplexer/combiner); see also Trial Tr. (Case No. 09-1864), Feb.

13, 2018, 199:17-201:11 (Mr. Hyatt agreeing that “[T]he experimental system did not have a


12
   Mr. Hyatt asserts that the ’211 application incorporates by reference the specification sheet for
the 74ALS365 chip. Trial Tr., Jan. 19, 2018, 299:20-300:20; see Hyatt FF, ¶ 152; PTX4.7925 (or
DX2002.446). As an initial matter, Mr. Hyatt’s specification actually refers to the slower 74LS365
chip (DX2002.92, 469), so the specification sheet for the faster ALS chip is irrelevant. See Trial
Tr., Jan. 19, 2018, 301:13-19 (Mr. Hyatt); id. at 322:17-323:18 (Mr. Hite). Further, the
incorporation by reference is irrelevant for purposes of the written description requirement. The
only incorporated material that may be relied upon for purposes of demonstrating written
description are “a U.S. patent or U.S. patent application publication.” 37 C.F.R. § 1.57(d). This
limitation on an applicant’s reliance on incorporated material was in place at the time Mr. Hyatt
originally filed the ’211 specification. See MPEP § 608.01(p) (Fifth Ed. Aug. 1983) (explaining
that only incorporated U.S. patents or U.S. patent applications can be relied upon for demonstrating
compliance with 35 U.S.C. § 112). And, finally, this Court should exclude that specification sheet
because it is not in evidence. When Mr. Hyatt identified PTX914 at trial, and attempted to admit
it into evidence, the USPTO objected on grounds including late disclosure. Trial Tr., Jan. 19,
2018, 304:24-305:4. The Court reserved its ruling at that time. Id. at 305:6. Mr. Hyatt has
requested no ruling since that time, so the document has not been admitted into evidence. ECF
No. 225 at 5.



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geometric multiplexer/demultiplexer combiner”) 13. Mr. Hyatt never built a system with more than

one channel. Trial Tr., Dec. 4, 2017, PM, 63:22-64:1; Trial Tr., Dec. 5, 2017, PM, 41:3-16.

        34.     It is puzzling that Mr. Hyatt argues that a three-dimensional perspective

embodiment—mentioned in the specification—produced “spectacular” results (Hyatt FF, ¶ 84

(citing, e.g., Trial Tr., Jan 19, 2018, 291:16-19)). He never built a three-dimensional perspective

embodiment and never saw those results. Trial Tr., Dec. 4, 2017, PM, 63:22-64:1 (Mr. Hyatt:

“And the experimental system did not implement 3D perspective either.”); Trial Tr., Dec. 4, 2017,

PM, 10:11-14 (“Now, the experimental system did not have the 3D perspective, and I wish I had

the time and resources to put that in, because that is really a spectacular visual effect.”). 14

        35.     As Mr. Hyatt explained, improving on a system does not necessarily work in

practice the way one might think it would work on paper. “[W]hen you come up with an

improvement, for example, increase of speed of one part of the system, then you run into all kinds

of other problems.” Trial Tr., Dec. 4, 2017, AM, 33:7-17. Those problems require solutions and

“other inventions.” Id.

        36.     As for the geometric multiplexer/demultiplexer/combiner, as Mr. Hyatt’s

application states, it would have to choose between images “on a pixel-by-pixel basis.” Trial Tr.,


13
   Indeed, to the extent that Mr. Hyatt now asserts that his experimental system did have a
“hardwired mux/demux” (Hyatt FF, ¶ 156), that is contradicted by his testimony in the 09-1864
case that there was no such combiner and that his experimental system “did not have multiple
channels.” Trial Tr. (Case No. 09-1864), Feb. 13, 2018, 199:17-201:11.
14
   Incidentally, Mr. Hyatt asserts that windows with three-dimensional perspective are “not known
in the graphical user interface systems, to the best of my knowledge. Even to this day.” Trial Tr.,
Dec. 5, 2017, AM, 29:20-30:2. As Dr. Castleman demonstrated at trial, warping of an image to
show three-dimensional perspective projection was known at least as early as 1971, when Dr.
Castleman’s colleagues warped a series of images and overlaid them on a map grid. DX2049;
Trial Tr., Jan. 18, 2018, 126:5-129:5. The effect of that sort of warping “is that of printing the
image on a rubber sheet, stretching the rubber sheet, and then tacking it down at various points.”
DX2049.4.



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Dec. 6, 2017, AM, 10:5-20 (Mr. Hite discussing PTX4.7941 (or DX2002.462)). Thus, if there

were five different channels, the combiner would have to choose—one pixel at a time—whether

each pixel’s color and hue should come from the image on channel 1, channel 2, channel 3, channel

4, or channel 5. See Trial Tr., Jan. 18, 2018, 46:7-15 (Mr. Hite stating that claim 394 would require

five separate channels to be implemented). Each channel would require 24 separate wires—eight

bits of red, eight bits of green, and eight bits of blue. Trial Tr., Jan 18, 2018, 135:3-15. Each

channel would have nine million pixels per second coming into the geometric

multiplexer/demultiplexer/combiner. Id. at 137:3-16. Also, the combiner works on a binary

system; with each additional channel “it’ll become harder and harder to implement the circuitry to

make those control decisions in the small amount of time that’s available.” Id. at 140:20-141:1.

        37.     Dr. Castleman “found about a page and a half of guidance [within the 650-plus page

specification] of how to build that device. There’s a lot of discussion of how to use it, of what it

could do if you had it, all the nice things that would happen if you had one of these things. But

when it comes down to how to build it, I found precious little in the specification to indicate or to

give guidance as to how to solve all the problems one would run into, especially in 1984, trying to

build one of these things.” Trial Tr., Jan. 18, 2018, 139:1-13 (referring to DX2002.469-470 and

DX2002.472-473, see Trial Tr., Jan. 18, 2018, 141:2-14); Hyatt FF, ¶ 144-145 (discussing what

geometric multiplexer/demultiplexer/combiner can allegedly do but not how to build it). Thus,

Dr. Castleman presented testimony that in 1984 it would have been hard to build a multiplexer/

demultiplexer/combiner that works as Mr. Hyatt hoped it would work; that Mr. Hyatt’s

specification did not tell one of skill in the art how to build it; and that the specification would not

teach one of skill in the art how to make the invention because “there’s no indication that he had




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thought through all the problems required, all the steps required to build this thing.” 15 Id. at

138:17-139:19; Trial Tr., Jan. 19, 2018, 225:3-17. And Mr. Hyatt explained that he never built

such an embodiment.

       38.     Mr. Hite explained that if one wanted to simulate moving through a forest, “for the

perspective to look right,” one would need a separate channel for each tree, requiring possibly

dozens of separate channels. Trial Tr., Jan. 18, 2018, 45:15-24; see Trial Tr., Jan. 18, 2018, 134:4-

20 (Dr. Castleman explaining that, to move mountains in the background slowly and telephone

poles beside a road quickly, “that would require a multichannel system where the background

could be in one channel . . . mov[ing] slowly, and the telephone poles would be in a second channel

which could move more quickly across the screen”); id. at 141:15-142:4. But, as discussed above,

Mr. Hyatt only ever implemented a system with one channel. Trial Tr., Dec. 4, 2017, PM, 63:22-

64:1; Trial Tr., Dec. 5, 2017, PM, 41:3-16. And he never implemented three dimensional

perspective. Id.; Trial Tr., Jan. 19, 2018, 312:16-18.

       39.     It is odd that Mr. Hyatt never implemented three-dimensional perspective or a

multi-channel system, in view of his contentions that neither would be hard, and each would only

require a few off-the-shelf parts. See Trial Tr., Jan. 19, 2018, 289:10-14 (Mr. Hyatt stating that

3D capability could be added to the experimental system “merely by adding, as we’ll see later on,



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   Mr. Hyatt argues that Dr. Castleman’s expert report did not address the argument that the
specification fails to describe how to build the multiplexer/demultiplexer/combiner. Hyatt FF,
¶¶ 158-165. As Dr. Castleman pointed out at trial, his expert report explained that “[t]he hardware
arrangement depicted makes no provision for displaying multiple overlapping windows of a single
display screen.” Dr. Castleman’s expert report further explained that none of the program lines in
Mr. Hyatt’s specification “would have illustrated to one of ordinary skill in the art in 1984 that Mr.
Hyatt was in possession of any of the overlaying limitations of claim 172,” along with other
paragraphs further discussing the lack of disclosure. Trial Tr., Jan. 18, 2018, 145:25-148:6; See
Hyatt FF, ¶ 161. The Court listened to the discussion in Dr. Castleman’s expert report and
overruled Mr. Hyatt’s counsel’s objection to the discussion.



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shortly, essentially a couple of registers and adders”); id. at 290:12-14 (Mr. Hyatt: “not letting it

go there because [3D perspective is] so easy to implement, I foresaw the future having . . . other

types of distortions); id. at 292:18-293:2 (Mr. Hyatt stating that a 3D image “is very, very simple

to implement,” “is very inexpensive,” and is “almost instantaneous to achieve, and it takes no

essentially no computational burden on the system”); id. at 293:9-14 (Mr. Hyatt stating that 3D

perspective could be added “by a slight addition of circuitry and a slight amount of initial condition

processing”); id. at 298:5-22 (Mr. Hyatt stating that additional channels would require only

“integrated circuits and multiplexer circuits that have six bit bus on a single integrated circuit chip.

And those are old, simple integrated circuit chips. You can put most of this on a single chip and

very easily. It’s a very simple one. And there’s no computational load in the mux/demux block.

It’s merely some logical circuits, which I’ll show shortly.”); id. at 305:19-306:18 (Mr. Hyatt stating

that one way of implementing additional channels “requires absolutely zero propagation delay or

computations or anything else, just wires”); Hyatt FF, ¶¶ 83, 151.

       40.     Mr. Hyatt also asserts that he wanted venture capital, but the venture capitalists did

not believe that the system could do what he said it could do. Trial Tr., Dec. 4, 2017, AM, 36:14-

18 (Mr. Hyatt: “you tell someone that you can get hundreds and thousands of times improvement

in—in cost and performance, they are very disbelieving”); Trial Tr., Dec. 4, 2017, PM, 31:8-11;

Trial Tr., Dec. 5, 2017, PM, 10:16-20 (Q: “[Y]ou made the decision that because [your inventions]

were unbelievable, you needed to build them, right, that’s what that says?” Mr. Hyatt A: “Well, I

needed to be able to demonstrate parts of them, the key parts, yes.”). And in 1999 Mr. Hyatt wrote

claims that all require a multi-channel system because they all have different windows that move

independently of each other. See PTX912.122-123; see generally PTX912 (slides from Mr. Hite




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that diagram independent claims, and all require multiple channels). Yet Mr. Hyatt never built

such a system.

        D.       Mr. Hyatt received a notice of allowance for claims that encompassed
                 rotating, sliding, expanding, and compressing an image

        41.      Mr. Hyatt filed the ’211 application in June 1995. DX2002.1. Although it was

filed in 1995, the ’211 application claims to be a continuation of a prior patent application filed by

Mr. Hyatt—U.S. Patent Application Serial No. 06/663,094 (“the ’094 application”), filed over ten

years earlier, in October 1984. DX2002.76. A continuation application contains the same

disclosure, or specification, as the original application and is treated as if filed on the filing date of

the earlier application. 35 U.S.C. § 120; Transco Prods., Inc. v. Performance Contracting, Inc.,

38 F.3d 551, 555-57 (Fed. Cir. 1994); Trial Tr., Jan 18, 2018, 107:22-108:7. In fact, the

continuation and the original application “are considered part of the same transaction constituting

one continuous application.” Transco, 38 F.3d at 556.

        42.      In the ’094 application, Mr. Hyatt received a notice of allowance for 10 claims in

October 1988. DX2014.14-16; Trial Tr., Jan. 18, 2018, 108:19-22. Those claims covered an

image processing system. See, e.g., DX2014.2.           Like Mr. Hyatt’s experimental system, those

claims recited accessing a single image from storage and manipulating that image by, for example,

rotating, translating (sliding), and scaling (expanding or compressing) it. Id. The claims covered

a single channel system. Trial Tr., Jan 18, 2018, 110:7-13. For example, claim 1, which was an

independent claim, recited the following:

                 An image processing system comprising:

                 means for storing an image

                 means for accessing the image from said storing means

                 geometric means for geometrically processing the image accessed
                 with said accessing means, said geometrical processing including


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               rotating, translating, scaling, and perspective processing the image
               accessed with said accessing means; and

               spatial means for spatially processing a geometrically processed
               rotated, translated, scaled, and perspective processed image from
               said geometric means to generate a spatially processed image having
               reduced aliasing.

DX2014.2.

       43.     Thus, the claims that were allowed closely match the system that is described in the

’211 specification and that Mr. Hyatt experimentally built in 1984. See Trial Tr., Jan. 18, 2018,

109:20-110:17. Because of that close match, the USPTO allowed the claims. DX2014.14-16. But

Mr. Hyatt chose not to pay the issue fee, a necessary step for the allowed claims to be issued as a

patent. By failing to pay the issue fee, he abandoned the ’094 application. Trial Tr., Dec. 5, 2017,

PM, 15:11-21 (Mr. Hyatt agreeing that he did not pay the issue fee for the ’094 application, which

is “a necessary condition for the issuance of a patent”); Trial Tr., Jan. 18, 2018, 108:19-109:8. 16

       44.     Mr. Hyatt filed different claims in 1999, fifteen years later, that recite multiple

images that are presented separately on multiple channels, as well as graphical-user-interface

elements like windows, menus, and icons. The examiner rejected these later claims under 35

U.S.C. § 112, and the Board affirmed. DX2011; DX2012.




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   If Mr. Hyatt had allowed those claims to issue in 1988, his patent would have expired in 2005.
And any other claims that were not patentably distinct from those claims would have expired at
the same time under the doctrine of obviousness-type double patenting. Proctor & Gamble Co.
v. Teva Pharmaceuticals USA, Inc., 566 F.3d 989, 999, 90 USPQ2d 1947 (Fed. Cir. 2009). By not
accepting those claims, Mr. Hyatt is attempting to retain the option to present similar claims up to
the present day, with the potential of receiving a 17-year term from when a patent issues.



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       E.      Mr. Hyatt’s specification uses the word “window” in multiple senses.

       45.     Mr. Hyatt’s specification uses the word “window” repeatedly. According to Mr.

Hyatt’s counsel, it is mentioned 268 times in the ’211 specification. Trial Tr., Jan 19, 2018,

280:15-20.

       46.     Mr. Hyatt has explained that he did not invent windows as used in his specification.

In fact, he explained that they are not an important part of his invention. Trial Tr., Dec. 5, 2017,

PM, 20:3-13 (Q: “Windows are a very important part of your invention; is that right?” Mr. Hyatt

A: “No.” Q: “So the word ‘window’ is used in every single claim that is before this Court, are you

saying that that word is not important to your invention?” Mr. Hyatt A: “I didn’t invent windows;

and, therefore, it’s not an important part of the invention. Windows is an old technology that has

been around the display field for a long time before I filed this, and I was using a narrower version

of what was well known in the field.”); Trial Tr., Dec. 4, 2017, AM, 55:14-19 (Mr. Hyatt: “I am

claiming special types of windows, like 3D perspective rotating windows. Just because windows

are mentioned in the claims don’t mean that I am claiming a window in its generic form.”). Indeed,

the claims that were allowed in 1988 based on the 1984 specification never mention the word

“window.” DX2014.2, 6-8, 12-13. 17

       47.     Mr. Hyatt did not define the word “window” in his specification. Trial Tr., Dec. 5,

2017, PM, 21:10-13. He stated that he “didn’t need to” provide definitions because he “had

extensive descriptions from a top level, way down to detailed lower level descriptions” (Trial Tr.,

Dec. 4, 2017, PM, 31:14-20), though he later conceded that he did not present his figures in the

top-down order from more general to more specific and that “there is no fixed sequence to, for a


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   Claim 20 of Mr. Hyatt’s original ’094 application recited a “window means for processing the
frame related information as window information under stored program control.” DX2014.11.
Mr. Hyatt was required to cancel that claim before receiving the notice of allowance. DX2014.16.



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reviewer to go through these figures.” Trial Tr., Dec. 5, 2017, AM, 52:24-53:2, 54:22-23; see

PTX910.32 (Mr. Hyatt’s demonstrative triangle presenting, e.g., Fig. 6A as a higher level block

diagram than Fig. 2I, and Figs. 5A-5D as higher level block diagrams than Fig. 1K). He further

stated that he is not defining the word “window” even at trial. Trial Tr., Dec. 5, 2017, PM, 25:17-

24.

       48.     Mr. Hyatt argues that the primary definition of “window” is “a portion of image

memory that is scanned out for display or processing.” Hyatt FF, ¶¶ 172-195; see Trial Tr., Dec.

4, 2017, PM, 8:6-12. That window is not visible but is stored in memory. Trial Tr., Dec. 4, 2017,

PM, 9:12-13 (Mr. Hyatt: “as a window is rotated it also encompasses different image information

in the image memory”); Trial Tr., Dec. 4, 2017, AM, 59:3-6 (Mr. Hyatt: “Then as the window is

translated and moved across the image memory, the displayed image looks like it is being moved

like a vehicle—like an airplane flying over the terrain.”); Trial Tr., Jan. 18, 2018, 64:13-17 (Mr.

Hite: “[O]ne description is content specific to the memory and the other one is to the display.”).

As shown in Mr. Hyatt’s figure 2A, a “window” resides inside “image memory,” which resides

inside “buffer memory,” which resides inside “database memory,” meaning the window exists in

the computer’s memory, rather than as a visible image. 18 DX2002.20.

       49.     What is displayed on the output monitor is an image. That is why, when the

specification discusses what is shown on the output monitor, it discusses an “image,” rather than

a “window.” For example, the specification states that “[t]he window can be translationally

positioned over image memory to implement image translation, can be rotationally oriented over


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  Mr. Hyatt argues that “Figure 2A shows a window image superimposed on a buffer memory
image superimposed on a database memory image.” Hyatt FF, ¶ 61. That figure simply does not
indicate that any of the boxes represent “images.” They all represent portions of memory inside
the computer. DX2002.20. Indeed, the terms “buffer memory image” and “database memory
image” do not appear anywhere in Mr. Hyatt’s specification. DX2002.



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image memory to implement image rotation, can be expanded or compressed to implement image

compression or expansion respectively, [and] can be warped to implement image warping.”

DX2002.147; see Trial Tr., Dec. 5, 2017, AM, 7:13-8:11 (Mr. Hyatt explaining that passage by

stating that “transforming the window” results in a “transformed image on the display”);

DX2002.150 (“Window 204D can be rotated . . . in accordance with geometric processing to

provide a correspondingly rotated . . . image.”) (quoted at Hyatt FF, ¶¶ 174, 179); DX2002.154

(“A window arrangement may be considered as mapping a portion of image memory seen through

a window into the display viewport. . . . Translation of the window relative to image memory

translates the image seen in the viewport.”). That means that when the window in memory is

moved, the image itself—shown on the output monitor—also moves. It does not mean that a

“window” is then shown on the output monitor. Trial Tr., Jan. 18, 2018, 153:12-154:7 (Dr.

Castleman explaining that the statements at DX2002.154 show “that what we’re seeing on the

display viewport is the content of the window and not the window itself”).

       50.    Similarly, the specification states that “[t]he portion of the image contained within

the rotated window EFGH is displayed in the viewport.” DX2002.156. It is an image, not the

window itself, that is displayed in the viewport (which is another word for the output monitor).

See Trial Tr., Dec. 5, 2017, AM, 10:7-18 (Mr. Hyatt discussing same paragraph of specification).

       51.    And Mr. Hyatt explained very clearly during his testimony at trial that a window

within this description was not something that was visible on the screen. According to Mr. Hyatt,

“[i]n my system the windows were a way to scan out the image information, but they themselves

were not portrayed on the screen. So that the operator did not have any perception in my system

that windows were being used.” Trial Tr., Dec. 5, 2017, AM, 31:9-13. Indeed, Mr. Hyatt

explained that having a window be visible on the screen would have ruined the effect of his




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invention: “The operator would merely see the imagery contained within the window, but he

wouldn’t—I did not present the window on the screen, because that would have destroyed the

perception of a pictorial type of presentation. . . . In my system I kept the window off of the screen

because I did not want to distort, detract from the image, the processed image that I was portraying

on the screen.” Id. at 31:14-24.

       52.     Dr. Castleman illustrated this first meaning of the word “window” in a few of his

slides. For example, Dr. Castleman showed a picture of one of Mr. Hyatt’s memory boards

containing 64 chips.




DX2050.21; PTX903. As Dr. Castleman explained, “one can imagine that those 64 chips contain

one large image. And that image could be displayed on the display monitor.” Trial Tr., Jan. 18,

2018, 150:13-151:5. However, according to Dr. Castleman, “one could also select a subset of

those memory chips, such as the eight chips that are shown inside the red rectangular outline, and

take only the data from those eight memory chips and route that to the display system so that



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whatever image content is contained in those eight memory chips is used to fill up the entire

screen.” Id. Thus, the red box represents “a window which is a portion of computer memory

which has been selected to supply the data to display on the display screen.” Id.

       53.     The set of image data occupying all of the chips in image memory is imported from

an image source such as a database. DX2002.11 (block 111A is an “image source”); Trial Tr.,

Jan. 18, 2018, 153:4-11.

       54.     Dr. Castleman also illustrated the window in image memory using data that

represents a map of the northwestern United States.




DX2050.22. On the left, there is a picture representing the entire map, stored in image memory.

“The little ones and zeros in the background just are there to remind us that the data that’s stored

in the memory is actually digital data, numbers ones and zeros basically.” Trial Tr., Jan. 18, 2018,

151:6-20. “[T]he black rectangle shows that a certain subsection of that image has been selected

for display. So only the data, the ones and zeros, that fall inside that black box are then routed to

the display.” Id. Thus, the user will see on the monitor, on the right, an image that is formed from

only the data inside the black box. Id. The rectangle on the left, then, is a window that is not




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visible but is only in memory. And on the right, what is displayed is only an image and not a

“window.” Id. at 152:12-18 (Dr. Castleman: “you wouldn’t see the window itself”).

       55.     Mr. Hyatt’s specification has another meaning of “window” as well. This one is

something displayed on the output monitor and not information contained in image memory. It is

what Mr. Hyatt calls a “windowed viewport.” The specification states, “A window arrangement

may be considered as mapping a portion of image memory seen through a window into the display

viewport. This is different from windowing of the viewport, where the viewport is divided into a

plurality of different areas, called windows, for different images.” DX2002.154 (emphasis added);

see DX2002.111 (“For windowing, geometric processor 111D can be implemented as a single

geometric processor time shared between the 2-images for display in windows of the viewport.”).

As Dr. Castleman explained, here “window” means “dividing the display monitor up into different

sections and displaying a different image in each one of those sections.” Trial Tr., Jan. 18, 2018,

150:3-12. Dr. Castleman illustrated that with the following image of a “windowed viewport.”




DX2050.26. “[E]ach of the sections is being used to display a different image. So we have four

different images displayed in four different sections, non-overlapping sections of the display


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screen.” Trial Tr., Jan. 18, 2018, 156:3-12. In other words, a “windowed viewport” is an output

monitor divided into multiple non-overlapping areas.

       56.     Mr. Hite used the “windowed viewport” as support for his second definition of

“window.” 19 Trial Tr., Dec. 5, 2017, PM, 75:9-21.

       57.     Dr. Castleman explained that, reading Mr. Hyatt’s specification, his “understanding

is that it’s up to the reader to determine from context which meaning of the word ‘windows’ is to

be used when reading the application.” Trial Tr., Jan. 18, 2018, 155:21-156:2. But neither of the

meanings established by the specification refers to a user-interactive window as used in a graphical

user interface. “[O]ne of them is not even visible on a display screen. And the other type, the

second type, windowing of the viewport, these windows are not interactive. You can’t click on

them, and they don’t overlap.” Id. at 156:13-21.

       F.      Mr. Hyatt’s specification describes displaying menus only on the input
               terminal monitor

       58.     In the specification, Mr. Hyatt describes menus only as displayed on the input

terminal monitor, to allow the user to choose what will then be displayed on the output monitor.

       59.     Mr. Hyatt explained that he described “menus which are in some of the source

code.” Trial Tr., Dec. 4, 2017, PM, 47:13-22. Those menus in the source code are displayed on

the input terminal monitor. Trial Tr., Dec. 5, 2017, PM, 31:12-21 (Mr. Hyatt explaining that the

menu lines that are preceded by the word “print” are displayed on the input terminal monitor);

DX2002.622 (specification showing menus preceded by the word “print”); Trial Tr., Dec. 5, 2017,

AM, 33:3-17 (Mr. Hyatt explaining that, on the input terminal monitor, you can see a menu with



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   The specification refers to other meanings of the word “window,” like a physical window of an
airplane. DX2002.520 (“The moving map display can be implemented . . . as if the display is a
special optical window in the floor of the cockpit.”). But that meaning is not at issue in this case.



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descriptions that “identify the types of images that I had preprogrammed” on the left and a list of

numbers on the right such that, when you press a number key, the corresponding image could be

loaded into image memory).

       60.     The input terminal monitor could show only text, and the menu was made up of

text. Trial Tr., Dec. 5, 2017, AM, 34:5-6 (Mr. Hyatt); Trial Tr., Jan. 18, 2018, 132:10-16 (Dr.

Castleman explaining that the input terminal monitor would have “a menu of options” displayed

on it, and “in order to execute one of those options, the operator would press the corresponding

number key on the keyboard”). Mr. Hyatt explained that “the operator would select from a menu.

He would select it from the computer terminal, from the keyboard on the computer terminal.” Trial

Tr., Dec. 5, 2017, AM, 32:5-10. As Mr. Hite put it, the menus that are shown in Mr. Hyatt’s

specification will “print a text formatted string on the [input] terminal display.” Trial Tr., Jan. 18,

2018, 74:5-24 (discussing menus from PTX4.8101-02 (or DX2002.622-23)). “This BASIC

program puts it on the terminal screen.” Id. That is true for all of the menu code that Mr. Hite

pointed to. Id. at 74:25-75:12; see Hyatt FF, ¶ 239 (discussing “menu-driven interface” referring

to menus on the input terminal monitor).

       61.     Indeed, as Dr. Castleman explained, the menus shown in code in Mr. Hyatt’s

application must be shown in the input terminal monitor and not on the output monitor because

the program to display a menu “does not have direct access to the output monitor.” Trial Tr., Jan.

18, 2018, 158:9-25. The “computer code that’s running on the supervisory processor does not

have the capability to write data on the—on the display screen.” Id.

       62.     In fact, although Mr. Hyatt’s claims recite the term “menu image” repeatedly (e.g.,

DX2003.4 (claim 134); DX2003.9 (claim 172); DX2003.11 (claim 199); DX2003.14 (claim 236)),

that term never once appears in the specification (Trial Tr., Jan. 19, 2018, 184:19-20 (Dr.




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Castleman)). The specification refers to menus solely on the input terminal monitor, and the text

shown on the input terminal monitor is not generally referred to as an “image.”

       63.     What is shown on the output monitor, on the other hand, is an image that is pulled

up from a database of images. DX2002.90. The application discloses that the database of images

could include images of text—“alphanumeric characters.” PTX4.7943 (or DX2002.464). But

displaying images of text does not imply displaying menus, contrary to Mr. Hite’s assertions. Trial

Tr., Dec. 6, 2017, AM, 56:7-13 (“And to a skilled artisan the image with alphanumeric information

that was stationary would be recognized as another window—a menu, I’m sorry.”); Hyatt FF, ¶

228; but see Trial Tr., Jan. 18, 2018, 77:18-19 (Mr. Hite conceding that not all text is a menu). Dr.

Castleman pointed this out in his testimony. Trial Tr., Jan. 18, 2018, 174:4-8 (Q: “[T]he window

of alphanumeric information, is that a menu?” Dr. Castleman: “In this case it’s not. There is a

menu. There is a menu [elsewhere in the claim], but the window of alphanumeric information is

not specified to be a menu.”). And, indeed, Mr. Hyatt’s claims separately recite displaying a

“menu image” and displaying a “window of alphanumeric images,” showing that Mr. Hyatt

understands that menus and alphanumeric images are different things. DX2003.41 (claim 394);

Trial Tr., Jan. 18, 2018, 174:4-8 (Dr. Castleman).

       64.     And Mr. Hyatt explained that, although an image of a menu—like any other

image—could be loaded into image memory to be chosen for display, he did not implement that;

he did not include an image of a menu as one of the choices of images to be loaded into image

memory or displayed on the output monitor. Trial Tr., Dec. 5, 2017, AM, 33:18-23 (“[A]n image

that is not in this list but that also could be loaded into image memory is a menu [image] . . . that

I would program and add to this menu.” (emphasis added)); Trial Tr., Dec. 6, 2017, AM, 55:13-

22 (Mr. Hite: “I’m going into [the] complexity of this because I’m assuming that the application




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also describes the database which could you know contain hundreds of these.” (emphasis added));

Trial Tr., Jan 18, 2018, 78:15-79:11 (Mr. Hite explaining that, although specification describes

showing a generic image on the output monitor, it does not specifically describe showing a menu

there). There is no figure in Mr. Hyatt’s specification that shows an image of a menu being

displayed on the output monitor. Trial Tr., Jan. 18, 2018, 84:13-16 (Mr. Hite); id. at 162:1-3 (Dr.

Castleman). Mr. Hyatt’s experimental system, shown in videos, never shows an image of a menu

being displayed on the output monitor. Id. at 84:17-25 (Mr. Hite); id. at 162:4-9 (Dr. Castleman).

When asked if, in reading the whole specification, there was any discussion of an image of a menu

being shown on the output monitor (or display screen), Dr. Castleman stated, “I didn’t find that at

all.” Id. at 161:22-25.

       65.     Indeed, the function of the menus in Mr. Hyatt’s application is to allow the user to

select what image will be loaded into image memory. Trial Tr., Dec. 6, 2017, AM, 53:12-22 (Mr.

Hite: “[T]he menu would say essentially select image to be loaded into image memory . . . and

then the operator would enter an 8, and that would cause the image processor to load a square

image into the image memory.”). No image will be displayed on the output monitor until after the

image is selected and loaded into image memory. See Trial Tr., Jan. 18, 2018, 80:10-13, 81:17-

24, 82:20-83:6 (Mr. Hite agreeing that image must be selected, then loaded into memory, then

displayed); Hyatt FF, ¶ 306 (“‘the architect can select a shrub as an overlay object’ (which will

then be stored in overlay image memory” (emphasis added)). So showing an image of a menu on

the output monitor in Mr. Hyatt’s application would have no function; that menu could not be

shown on the output monitor until after the operational menu had already been used. Trial Tr.,

Jan. 18, 2018, 159:18-161:21 (Dr. Castleman explaining that, because the image is accessed from

the database and displayed on the output monitor only after being chosen on a menu, there would




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be no opportunity in Mr. Hyatt’s program to have a menu on the output monitor allow the user to

pick an option).

       66.     Instead, the way Mr. Hyatt’s menus worked was that the menu was shown on the

input terminal monitor, the user could read a description of an image and type in a number to select

it, and the image would then be accessed and displayed on the output monitor. See id.; Trial Tr.,

Jan 18, 2018, 83:7-84:14 (Mr. Hite agreeing that the way Mr. Hyatt’s code worked was that the

user would select images using the description of those images on the input terminal monitor).

       67.     Mr. Hyatt went on to argue that “menus implemented with alphanumerics would

be overlaid on the images as disclosed and claimed” (Trial Tr., Dec. 4, 2017, PM, 47:13-22), but

nowhere does the specification show menus being shown on top of images or even on the same

screen as images. See Trial Tr., Jan. 18, 2018, 85:1-9 (Mr. Hite agreeing that no figure or video

of Mr. Hyatt’s experimental system shows a menu being displayed on top of an image) 20; Trial

Tr., Jan. 18, 2018, 161:22-162:3 (Dr. Castleman testifying that specification nowhere discusses

menus being shown on the display screen).

       G.      Mr. Hyatt’s specification uses the word “icon” only once, including it
               in a list of “terrain primitives” that are small reproducible images

       68.     In the specification, the word “icon” appears only once. DX2002.484; Trial Tr.,

Jan. 19, 2018, 190:2-6. It is included in a list of “terrain primitives” that are small reproducible

images that can create a larger picture. DX2002.484 (“In non-real world applications, an unlimited

amount of terrain can be constructed with a relatively small amount of database memory by


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  Mr. Hite asserted that PTX4.8013-14 (DX2002.534-535) describes making a selection from a
menu on the output monitor of a background image and overlay images. Trial Tr., Jan. 18, 2018,
85:10-86:6; see Hyatt FF, ¶¶ 237-238. But he also conceded that the image shown on the output
monitor would not arrive there until after it had been selected from a menu on the input terminal
monitor. Trial Tr., Jan. 18, 2018, 80:10-13. Thus, Mr. Hite’s position on that particular disclosure
simply does not make sense.



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overlaying terrain primitives stored in the database. The primitives can include forested terrain,

desert terrain, hilly terrain, mountainous terrain, cultural features, graphics, alphanumerics, icons,

and other such primitives.”); Trial Tr., Dec. 5, 2017, PM, 35:7-9 (Mr. Hyatt agreeing that

“primitives” are “building-block elements which can be combined to make a larger picture”); Trial

Tr., Jan. 19, 2018, 190:7-14 (Dr. Castleman).

        69.     Among those terrain primitives are things like trees, which have “foliage overlays.”

DX2002.484. Mr. Hyatt explained at trial that a small reproducible image, like a tree image, is

not “an operator aid.” Trial Tr., Dec. 5, 2017, AM, 23:7-12 (Q: “Do you consider a tree image

like this to be a computer operator aid as well?” Mr. Hyatt A: “A tree image is an image used in

the, creating the overall complex image such as for pilot training simulators and the like. I wouldn’t

call it an operator aid. I would call it a portion of a pictorial image on the screen.”).

        70.     The specification does not use the word “icon” to represent an image that can be

clicked on to execute a program or anything else. Trial Tr., Dec. 5, 2017, AM, 21:16-23 (Mr.

Hyatt: icons as used in the specification “don’t have the ability to control anything”); Trial Tr.,

Jan. 19, 2018, 191:7-15 (Dr. Castleman). And the specification does not refer to icons or any other

terrain primitives as “computer operator aids.” Instead, “an icon is described as an image.” Trial

Tr., Dec. 5, 2017, PM, 35:18-20 (Mr. Hyatt).

        H.      In 1984, Apple was using a graphical user interface, but Mr. Hyatt was
                not aware of it

        71.     Dr. Castleman explained that a graphical user interface (sometimes called a GUI)

is “a method for allowing an operator to control the operation of a computer. It’s called a user

interface because it allows the user to interface with the execution of the software that’s running

on the computer. And it’s called a graphical user interface because it’s done through the use of

graphic images on the screen.” Trial Tr., Jan. 18, 2018, 120:18-121:4.



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       72.     In the present day, Microsoft Windows and Apple computers operate on graphical

user interfaces. Id. at 121:5-122:12. A user uses a mouse or other device to control a pointer, and

the user can move the pointer to an icon, click it, and thereby open a window on the screen. Id.;

see id. at 65:16-66:1 (Mr. Hite saying the same). The interface is characterized by two-way

communication between the user and the processor, because the location of the pointer and user

input (e.g., click of the mouse button) send information back to the processor telling the processor

specifically what to do. Id. at 121:5-122:12. For example, if the user moves a mouse to the point

on the screen where an icon is located and then clicks on that icon to open an internet browser, the

processor is directed to open an internet browser rather than Microsoft Word because of where on

the screen the user has clicked. See id. (Dr. Castleman: “[T]he computer can detect the position

or knows the position of the cursor or the pointer at the time the operator presses a button. And it

knows the location of the different graphic items on the screen. So the software can sense the fact

that the operator has activated a certain icon or menu item and then use that to direct the operation

of the software.”); id. at 66:2-67:3 (Mr. Hite).

       73.     By 1984, Apple Computer, Inc. was using a graphical user interface in a

commercially available product. DX2023 (copyrighted 1983); see Trial Tr., Jan 18, 2018, 122:24-

123:6. That interface included user-interactive windows, menus, and icons. The user could move

the mouse, select windows, menus, or icons representing files or programs with the mouse by

clicking, and give commands by dragging things like windows or icons with the mouse.

DX2023.5-6; Trial Tr., Jan. 18, 2018, 122:24-123:14. The user could send information back to

the processor with the mouse. For example, when a user clicks on an icon representing an

application, that click gives a command to the processor to select and activate that particular

application. DX2023.8.




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       74.     In the Apple system, when the user selects a particular window, that window

becomes active. DX2023.13. As the manual explains, “[w]ith Macintosh you can have many

windows on your desktop at the same time. When there’s more than one window, your Macintosh

needs to know which one you’re working on at the moment, so that the commands you choose and

the text you type end up in the right place.” Id. In other words, the processor handles information

differently depending on which window the user is working on. “The window you’re working on

is always in front of all the others. It’s called the active window, the place you want the next action

to happen.” Id. Thus, the active window appears brighter on the screen and overlaps the other

windows, while the inactive windows appear dimmer and can be covered up by the active window,

as shown below. Id.; Trial Tr., Jan. 18, 2018, 118:11-18.




DX2023.13.

       75.     When the user clicks on a menu title on the menu bar at the top of the screen, the

processor causes a particular pull-down (or drop-down) menu to appear, as shown below.




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DX2023.8. Thus, the user interacts with the display screen by clicking on a menu title, which

sends information back to the processor, causing the correct pull-down menu to appear. Trial Tr.,

Jan. 18, 2018, 118:19-119:14. The user can choose a command from the pull-down menu, and

selecting that command with an input device gives the processor instructions to carry out that

command. Id.; DX2023.8.

       76.    Apple used icons in 1984 to represent executable programs or applications. Thus,

clicking on an icon would allow the user to then open a particular program or application, which

would appear in a window. DX2023.8-10; Trial Tr., Jan 18, 2018, 119:17-120:1. The manual

shows some icons like “Folder Icons.”




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DX2023.10.

       77.     Thus, at DX2023.16, the Apple manual shows a menu overlapping a window and

a window overlapping another window. It also shows icons that can be selected to run particular

applications or programs.




DX2023.16; see Trial Tr., Jan. 18, 2018, 120:2-17.

       78.     Although graphical user interfaces existed in 1984, when Mr. Hyatt filed his patent

application, Mr. Hyatt was not aware of them and had not used them. Trial Tr., Dec. 5, 2017, PM,

13:22-14:11.

       I.      By 1999, when Mr. Hyatt filed the claims at issue, graphical user
               interfaces with windows, menus, and icons were immensely popular

       79.     In 1999, after fifteen years had passed, though, graphical user interfaces had

become immensely popular. In that fifteen-year period, a “tremendous explosion of technology

happened. Computers got more powerful, cheaper, smaller.” Trial Tr., Jan. 18, 2018, 163:3-11.

And “graphical user interfaces became almost ubiquitous thanks to Microsoft and Apple.” Id.

“[I]t got to the point where if you wanted to sell a system, you better put a graphical user interface

on it.” Id. at 164:1-5.


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        J.        This Court has to determine the meanings of the terms “window,”
                  “menu,” and “icon” as used in the claims and determine whether those
                  terms are described in the specification

        80.       Before a court can determine if a claim term is supported by written description or

is sufficiently definite, the court must first construe—or attempt to construe—the term. See

Bamberg v. Dalvey, 815 F.3d 793, 797 (Fed. Cir. 2016) (after determining that claim term had

been properly construed, moving on to see if the specification supported the claim to meet the

written description requirement); Media Rights Techs. v. Capital One Financial Corp., 800 F.3d

1366, 1371 (Fed. Cir. 2015) (explaining that indefiniteness in this case is “intertwined with claim

construction”).

        81.       Claim construction, also known as claim interpretation, is a question of law based

on underlying facts. Teva Pharmaceuticals USA, Inc. v. Sandoz, Inc., 135 S. Ct. 831, 835 (2015).

        82.       Claim construction is the process of determining the operative meaning of a term.

“During patent examination the pending claims must be interpreted as broadly as their terms

reasonably allow.” In re Zletz, 893 F.2d 319, 321 (Fed. Cir. 1989). “[D]uring patent prosecution

when claims can be amended, ambiguities should be recognized, scope and breadth of language

explored, and clarification imposed.” Id.; see In re Yamamoto, 740 F.2d 1569, 1571 (Fed. Cir.

1984) (“The PTO broadly interprets claims during examination of a patent application since the

applicant may ‘amend his claims to obtain protection commensurate with his actual contribution

to the art.’” (citations omitted)).

        83.       Claim terms are interpreted according to the understanding of a person of ordinary

skill in the art at the time of the invention. Phillips v. AWH Corp., 415 F.3d 1303, 1313 (Fed. Cir.

2005) (en banc). Both Dr. Castleman and Mr. Hite gave their opinions on the level of ordinary

skill for the invention disclosed in the ’211 application. Dr. Castleman stated that “a person of

ordinary skill in the art in 1984 would have a master’s degree in electrical engineering or closely


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related field, and three to five years’ experience in digital circuit design.” Trial Tr., Jan. 18, 2018,

114:5-18. In 1984—at the time of Mr. Hyatt’s invention—Dr. Castleman met those qualifications.

Id.

        84.     Mr. Hite stated that a person of ordinary skill in the art in 1984 would have at least

“a bachelor’s degree in electrical engineering and at least five years’ experience working in the

field of image processing. Also, they would have to possess a good understanding of digital logic

design.” Trial Tr., Dec. 5, 2017, PM, 54:3-14. In 1984—at the time of Mr. Hyatt’s invention—

Dr. Castleman met those qualifications. See DX2022. Mr. Hite, however, did not meet those

qualifications until 1994, ten years later. Trial Tr., Jan. 18, 2018, 37:6-22. By 1994, as opposed

to 1984, the landscape of image processing and design had changed significantly, personal

computing was readily available, and graphical user interface systems like Microsoft Windows

were common. See generally Trial Tr., Jan. 18, 2018, 163:15-164:5.

        K.      Mr. Hyatt’s claims use the word “window” both (1) in multiple senses,
                rendering the claims invalid as indefinite and (2) to cover a graphical
                user interface, which Mr. Hyatt agrees he did not invent

        85.     Mr. Hyatt argues in this Court that his claims use the word “window” to mean “a

portion of image memory that is scanned out for display or processing.”

        86.     But that definition of “window” is inconsistent with what the claims recite.

                1.      This Court must engage in claim construction to determine
                        whether “window” is described and definite, and neither Mr.
                        Hyatt nor Mr. Hite proposed claim constructions for the term

        87.     As discussed above, the Court must engage in claim construction to determine

issues like written description and definiteness.       In this trial, plaintiff presented only two

witnesses—Mr. Hyatt and Mr. Hite. Both refused to interpret or define the term “window.”

        88.     Rather than engaging in claim interpretation and providing a definition for

“window,” Mr. Hite explicitly refused to provide an interpretation. Mr. Hite stated, “you’re asking


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me to interpret the claim; right?” Trial Tr., Jan. 18, 2018, 69:1-70:4. When counsel for the USPTO

said yes, Mr. Hite stated, “I didn’t write the claim.” Id. When Mr. Hite was then asked, “you’re

an expert in this case; correct?” he responded, “As far as providing written description of these

claims.” Id. When asked whether that includes providing an interpretation of the meaning of the

claims, Mr. Hite responded, “Mr. Hyatt wrote the claims.” Id. When finally asked whether part

of his job as an expert witness is to understand the metes and bounds of the claims, Mr. Hite

responded, “I don’t know. I hadn’t thought about it that way.” Id. Later, when asked about the

process of claim construction, Mr. Hite stated, “I didn’t construct the claims in this disclosure. I

was just, you know, trying to demonstrate adequate written description, … and you know,

interaction of claims, and that was kind of the process I followed.” Id. at 54:20-55:1. Indeed,

rather than engaging in the claim construction process to determine the appropriate definition of

“window” in the context of the record, Mr. Hite dismissed it as “a question of semantics.” Id. at

53:5-55:10.

       89.     Similarly, Mr. Hite never provided a definition of the word “window” in either his

expert report or his supplemental expert report. Trial Tr., Jan. 18, 2018, 47:7-49:4 (Mr. Hite

ultimately explaining that he did not give a definition of the word “window” in the supplemental

expert report). Mr. Hite gave a deposition and refused to give a definition of the word “window.”

Trial Tr., Jan. 18, 2018, 50:12-18 (Mr. Hite agreeing, when asked in his deposition whether he had

an opinion on what the claim term “window” means, that he had responded only “I guess I have

an opinion as the word is used in the claim[,] as much as it’s described.”); id. at 98:2-13 (Mr. Hite

agreeing that he had testified in his deposition that he had not “offered a definition of the word

‘window’ as it’s used in the claims”). It was only after he looked at the deposition transcript, on

reflection, that he was able to provide a definition of the word “window.” Id. at 50:19-51:11.




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       90.     And even then, he did not provide a single definition but instead provided two

definitions, depending on the context in which the word was used in the claim. Id. at 51:5-52:7.

In other words, Mr. Hite provided two different definitions for the word “window” within a single

claim, depending on whether it refers to image information stored in memory or an image

displayed on an output monitor. Id. at 51:24-53:4, 55:21-57:20 (Q: “So your understanding is that

the same word can mean two different things within the same claim; correct?” Mr. Hite: “. . . Yes.

The word ‘window’ in certain claim elements would be relative to a memory. And in other claim

elements it would be relative to the display.”).

       91.     Mr. Hyatt also never provided a definition of the word “window,” either in his

application or at trial. Trial Tr., Dec. 4, 2017, AM, 55:14-22 (Mr. Hyatt: “I’m not claiming

windows. I am claiming special types of windows, like 3D perspective rotating windows. Just

because windows are mentioned in the claims don’t mean that I am claiming a window in its

generic form.”); Trial Tr., Dec. 4, 2017, PM, 8:6-9:1 (Mr. Hyatt: “Just saying a window is claimed

is meaningless because we’re not just claiming a window.”); id. at 31:14-32:2 (Mr. Hyatt

explaining that he did not provide definitions in his specification); Trial Tr., Jan. 18, 2018, 47:7-

15 (Mr. Hite agreeing that “window” is not defined in the specification). Indeed, Mr. Hyatt stated

that it is “silly for me to have to define ‘window’ in a vacuum. It is an image processing window

of a special type that I described.” Trial Tr., Dec. 5, 2017, PM, 21:2-23:6. Further, in response to

a question whether a window is “a set of image information that is scanned out of image memory

and used to generate an image,” Mr. Hyatt replied not that that was a definition of the word but

that it was “a description of it,” and he explained that it was only “one of the ways [the word

‘window’] was characterized” in his disclosure. Id.




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               2.     In each of Mr. Hyatt’s claims, Mr. Hyatt’s newly proposed
                      definition of the word “window” does not work for the
                      “displaying” steps

       92.     In his proposed findings of fact, Mr. Hyatt now asserts for the first time that only

one definition applies to the claims, and that definition is “a portion of image memory scanned out

for display.” Hyatt FF, ¶¶ 172-195. For one thing, Mr. Hyatt’s most recent definition of “window”

cannot apply to each instance in any claim. Using claim 172 as an example, that claim recites the

following:

               A process comprising the acts of:

               generating operator input information;

               generating background image information;

               generating menu information in response to the operator input
               information;

               generating a first window of three dimensional perspective image
               information;

               overlaying the first window of three dimensional perspective image
               information onto the background image information;

               overlaying the menu information onto the first window of three
               dimensional perspective image information;

               generating a second window of graphics image information;

               overlaying the second window of graphics image information onto
               the background image information overlapping with the first
               window of three dimensional perspective image information; and

               displaying a background image overlaid by a first window of three
               dimensional perspective images further overlaid by a menu image
               and overlaid by an overlapping second window of graphics images
               in response to the background image information overlaid with the
               first window of three dimensional perspective image information
               overlaid with the menu information and in response to the
               background image information overlaid with the overlapping
               second window of graphics image information.

DX2003.8-9.


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       93.     The claim thus recites both “generating a first window of three dimensional

perspective image information” and “displaying . . . a first window of three dimensional

perspective images.” Those are two different windows. One is generated in image memory and

the other is displayed on a screen. As Mr. Hite explained, all of the claims follow this general

pattern of generating a window and then displaying a window. Trial Tr., Dec. 5, 2017, PM, 69:11-

16; see DX2003.

       94.     The window that is generated, according to Mr. Hite, is defined as “a portion of

image memory that is scanned out for image processing or display.” Trial Tr., Jan. 18, 2018, 51:5-

53:4 (“[A]s applied to the geometric processor, window means a portion of image memory that is

scanned out for image processing or display.”).

       95.     The window that is displayed, on the other hand, is not a portion of image memory

but is instead something else—something that is displayed. Mr. Hite attempts to define the

displayed “window” as “a portion of the display containing an image.” Id. (“As applied to the

display, window means a portion of the display containing an image.”). Thus, Mr. Hite alleges

that two different definitions apply to the word “window” within the same claim, depending on

whether it is a window that is “generated” or a window that is “displayed.” Id. (“It depends on the

context of usage with an image memory or the display.”); id. at 55:21-57:20 (Q: “So your

understanding is that the same word can mean two different things within the same claim; correct?”

Mr. Hite: “. . . Yes. The word ‘window’ in certain claim elements would be relative to a memory.

And in other claim elements it would be relative to the display.”).

       96.     And Mr. Hite testified that those definitions are mutually exclusive. “[O]ne

description is content specific to the memory and the other one is to the display.” Trial Tr., Jan

18, 2018, 64:13-17; see id. at 67:18-21 (Q: “Are the windows described in Mr. Hyatt’s




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specification user interactive?” Mr. Hite: “Are you talking windows on the screen, or windows in

the memory? Because we have these two—”).

       97.     The claims do not work with only one of those definitions. If a “window” is defined

only as a portion of image memory, as Mr. Hyatt now principally argues in his proposed findings

of fact (Hyatt FF, ¶¶ 172-195), then a window itself cannot be displayed. Only an image is

displayed, not the memory or the data in memory. Thus, the part of each claim that recites

“displaying . . . a first window of three dimensional perspective images” (DX2003.9), displaying

another type of window, or the like simply makes no sense under that single definition.

       98.     Similarly, if a “window” were defined as “a portion of the display containing an

image,” that definition makes no sense for the windows that are generated.

       99.     The problem with having two different definitions apply within the same claim—

in addition to it violating the basic definiteness requirement for claims under 35 U.S.C. § 112(b)—

is that the two different types of windows as discussed in the specification are very different things.

The specification explicitly distinguishes them from each other. The specification states, “A

window arrangement may be considered as mapping a portion of image memory seen through a

window into the display viewport. This is different from windowing of the viewport, where the

viewport is divided into a plurality of different areas, called windows, for different images.”

DX2002.154 (emphasis added).          (Mr. Hyatt now argues that the specification “expressly

disclaims” the second definition—“windowing of the viewport.” Hyatt FF, ¶ 191. But Mr. Hite

apparently does not agree because he argued to the Court that the sentence about “windowing of

the viewport” “provides written description that you can have multiple windows of image

information on the viewport, which is the display.” Trial Tr., Dec. 5, 2017, PM, 75:9-21; see also

Trial Tr., Jan. 18, 2018, 63:7-64:1 (referring to A114 (DX2002.111), which says, “For windowing,




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geometric processor 111D can be implemented as a single geometric processor time shared

between the 2-images for display in windows of the viewport.”).)

       100.    Dr. Castleman illustrated the difference between the two different types of windows

discussed in the specification during his testimony. Supra ¶¶ 52-57.

       101.    Furthermore, even if a claim term could have two different meanings depending on

the context, the specification gives no meaning that is consistent with the claimed windows that

are displayed. As discussed above, the window contained in memory is not displayed. And the

“windowed viewport” does not make sense with those displayed windows because the claimed

displayed windows do things like overlap each other. E.g., DX2003.9 (claim 172 reciting

displaying two overlapping windows). The “windowed viewport” is “divided into a plurality of

different areas, called windows, for different images.” DX2002.154 (emphasis added). Those

different areas are not overlapping—they make up “non-overlapping sections of the display

screen.” Trial Tr., Jan. 18, 2018, 156:3-12 (Dr. Castleman). Thus, neither of the usages of

“window” in the specification can account for the “windows” that are “displayed” in Mr. Hyatt’s

claims. Trial Tr., Jan. 18, 2018, 170:25-171:12 (Dr. Castleman).

       102.    And it is “considerably more complicated to implement overlapping windows” than

the separate areas in a windowed viewport. Trial Tr., Jan. 18, 2018, 171:13-21. “[F]or each pixel,

the software has to make the decision as to which of the windows is on top and, therefore, obscures

the windows below. Whereas, with the nonoverlapping windows in the windowing of the

viewport, then the different images are selected only by their x-y position on the screen, which is

a simpler process to do.” Id.

       103.    Thus, even though the specification uses the word “window” in two potentially

relevant ways, neither of those usages work for the “window” that is displayed in each of Mr.




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Hyatt’s claims. “A person of ordinary skill in the art would find that the meanings [of the term]

as specified in the ’211 application, don’t fit the word as it’s used in the 1999 claims.” Trial Tr.,

Jan. 19, 2018, 218:15-21 (Dr. Castleman). “[A] person of ordinary skill in the art would have a

problem applying the two definitions in the ’211 application to the—to the claims, to the rejected

claims, the 1999 claims. The language of those claims would be, it would be difficult or impossible

to apply either one of those first two definitions in a reasonable way to the wording in those

claims.” Id. at 232:8-18 (Dr. Castleman).

               3.      In each of Mr. Hyatt’s claims, the only way for the word
                       “window” to have a single consistent definition is if it covers a
                       graphical user interface

       104.    All of Mr. Hyatt’s current claims include “windows” that overlay each other and

include interactive features such as menus and icons.

       105.    For example, Dr. Castleman illustrated the items displayed during the “displaying”

step of claim 172 with the following picture.




DX2050.8

       106.    And, as discussed above, the claims recite both generating windows and displaying

windows. The only consistent way to understand those claims is if the “windows” being referred

to are the user-interactive-type windows used in a graphical user interface. In a graphical user


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interface, windows are both generated and displayed because the user can actually see something

that is called a “window.”

       107.    Indeed, as Dr. Castleman explained, the display shown in a claim like claim 394

would only work if the overlapping windows can be easily switched, where the one in back can be

quickly moved to the front. That kind of switching is easy in a graphical user interface including

windows that the user can click on to make them active, but it is much more difficult in a system

like the one described by Mr. Hyatt.

       108.    Specifically, claim 394 recites the following:

               A process comprising the acts of:

               generating operator input information;

               generating background image information;

               generating a first window of alphanumeric image information;

               overlaying the first window of alphanumeric image information
               onto the background image information;

               generating first menu information in response to the operator input
               information;

               overlaying the first menu information onto the first window of
               alphanumeric image information;

               generating a second window of graphics image information;

               overlaying the second window of graphics image information onto
               the background image information overlapping with the first
               window of alphanumeric image information;

               generating second menu information in response to the operator
               input information;

               overlaying the second menu information onto the second window of
               graphics image information; and

               displaying a background image overlaid by a first window of
               alphanumeric images further overlaid by a first menu image and
               overlaid by an overlapping second window of graphics images


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               further overlaid by a second menu image in response to the
               background image information overlaid with the first window of
               alphanumeric image information overlaid with the first menu
               information and in response to the background image information
               overlaid with the overlapping second window of graphics image
               information overlaid with the second menu information.

DX2003.40-41 (emphasis added).

       109.    Dr. Castleman illustrated the items displayed during the “displaying” step with the

following picture.




DX2050.40; see Trial Tr., Jan. 18, 2018, 172:11-21.

       110.    As Dr. Castleman explained, the first displayed window of “alphanumeric

images”—or text—is partly obscured by an “overlapping second window of graphic images.”

Trial Tr., Jan. 18, 2018, 173:22-175:5. Because some of the text would be covered, the user could

not read that text. Dr. Castleman explained that it might be useful to cover some of the text if the

user did not need to see it at the moment, but the user would need to see the text to read it. Id.

And, as Dr. Castleman explained, the process of covering and uncovering a particular window in

a graphical user interface is easy, such that the user could later easily see the text. The user can

simply click on the inactive window to make it active and to be able to read the text. Id.

       111.    But, Dr. Castleman explained, the process of reading text that had been covered up

in the invention described by Mr. Hyatt would be cumbersome. Trial Tr., Jan. 18, 2018, 175:6-


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176:5. To switch the order of priority of the two images so that the text would be visible, the user

could “reload the different channels.” Id. That would mean “interchang[ing] the images between

the two channels so that the one you wanted to see moves to the high priority channel.” Id. That

would require a number of steps—“you could copy the images into the different channels, and

then you would see what you needed to see. But it wouldn’t be a simple click thing.” Id. Mr.

Hyatt agreed that it would be difficult but “doesn’t have to be done very often.” Trial Tr., Jan. 19,

2018, 307:1-15.

       112.    Thus, the fact that Mr. Hyatt wrote claims in 1999 that include windows of text that

are overlapped by other windows indicates that Mr. Hyatt intended his claims to cover a graphical

user interface and not the system he described in his 1984 specification.

       113.    Claim 472 recites displaying a “menu window.” DX2003.59. That menu window,

although never discussed in the specification (Trial Tr., Jan. 18, 2018, 92:7-19 (Mr. Hite); Trial

Tr., Jan. 19, 2018, 180:17-21 (Dr. Castleman)), must include a menu, which, as discussed below

(¶¶ 130-143), must be user interactive.

       114.    Indeed, in 2001, not long after he wrote his 1999 claims to cover windows, menus,

and icons, Mr. Hyatt argued to the USPTO, to avoid invalidating prior art, that the claims covered

graphical-user-interface technology. See Trial Tr., Jan. 18, 2018, 125:14-18 (Dr. Castleman). Mr.

Hyatt argued that the examiner should have construed the claims and should have “concluded that

the claimed ‘windows’ having menus, cursors, icons, or other computer operator aids, are

significantly different from [prior-art reference] Marsh’s windows of an aircraft displaying

pictorial windows of terrain (e.g. Marsh’s Fig. 2A) without any teaching of such claim limitations.”

DX2010.184 (emphasis added). In other words, Mr. Hyatt asserted that Marsh shows only

pictorial windows of terrain—like the mountains, shrubs, and icon primitives discussed in Mr.




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Hyatt’s specification. Mr. Hyatt asserted that his claims—unlike the mountains, shrubs, and icon

primitives that his specification and Marsh’s figure 2A both include—instead are claiming

“computer operator aids” like windows, menus, cursors, and a different kind of icons. And, in

fact, Mr. Hite conceded in Case No. 09-1864 that his ’211 specification does not describe a cursor,

even though Mr. Hyatt’s claims require one. Trial Tr. (Case No. 09-1864), Feb. 14, 2018, 410:20

(Mr. Hite: “There is no cursor described in the specification.”); see DX2003.5 (claim 151 recites

a cursor).

       115.    Similarly, Mr. Hyatt elsewhere repeatedly tried to distinguish his system from prior

art systems because it is “operator interactive.” DX2010.155-156. Again trying to distinguish

Marsh, Mr. Hyatt stated that “Marsh is non-analogous to the instant claimed invention. Marsh

shows a graphics (polygon) flight simulator system, while the instant claimed invention is directed

to an operator interactive window display system.” Id. According to Dr. Castleman, Mr. Hyatt

was “saying here that all Marsh can do is display—is display images. Whereas the claimed

invention is directed toward an operator interactive window display system.” Trial Tr., Jan. 18,

2018, 166:14-22.

       116.    And Mr. Hyatt again tried to distinguish Marsh because all Marsh shows is terrain-

type pictures—like the mountains and shrubs described in Mr. Hyatt’s specification. According

to Mr. Hyatt, “Marsh shows physical windows of an aircraft displaying terrain-type pictures, not

computer-type ‘windows’ for computer operator interaction having computer-type features such

as menus, cursors, and irregularly cropped image information.” DX2010.159. As Dr. Castleman

described that argument, Mr. Hyatt was “basically saying here that all Marsh can do is display

pictures on a screen. But the claimed invention has computer-type windows for computer operator




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interaction, and that those computer-type windows have menus, cursors and are able to display

irregularly cropped image information.” Trial Tr., Jan. 18, 2018, 167:3-14.

       117.    Indeed, Mr. Hyatt argued to the Board that “menus and cursors” were examples of

“windows.” DX2010.186; Trial Tr., Dec. 5, 2017, PM, 45:6-13 (Mr. Hyatt). He stated, “[t]he

claims recite combinations of different types of computer windows (e.g., menus and cursors) in

addition to other significant distinguishing limitations.” DX2010.186. He added that “[n]either

Netravali nor Marsh teach even a single computer-type ‘window,’ much less the claimed

combinations of multiple computer ‘windows’ nor the specific limitation thereof recited in the

claims.” Id. As Dr. Castleman explained, Mr. Hyatt was “basically saying that Marsh and

Netravali can only display pictures on their screen. Whereas, his claimed invention can display

computer-type ‘windows,’ in quotes, which include menus and cursors. So this, again, supports

the idea that the window—the claimed windows are computer interactive windows.” Trial Tr.,

Jan. 18, 2018, 169:4-23.

       118.    In sum, Mr. Hyatt was asserting to the Board that his claims covered user-

interactive windows. He was further asserting that those windows include menus, cursors, and

icons as “computer operator aids” to assist in that interaction with the windows. DX2010.184; see

Trial Tr., Jan 18, 2018, 167:15-168:5 (Dr. Castleman). “These are the elements of a graphical user

interface.” Trial Tr., Jan. 18, 2018, 169:24-170:3.

       119.    Mr. Hyatt’s argument was primarily to distinguish the Marsh reference, which

showed images of terrain—like Mr. Hyatt’s specification—but did not have images of menus and

icons and other computer operator aids. Mr. Hyatt was now asserting that pictorial images of

terrain are not what his claims covered (Trial Tr., Jan. 18, 2018, 168:11-17 (Dr. Castleman)), even

though the specification describes pictorial images of terrain (Trial Tr., Dec. 5, 2017, PM, 59:21-




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60:1 (Mr. Hite discussing helicopter simulator portraying background terrain with trees and

buildings)). 21

        120.      Mr. Hite similarly explained that he would define a “user interactive window” “in

terms of a GUI [graphical user interface], with a mouse, and a cursor, and like we had discussed.”

Trial Tr., Jan 18, 2018, 70:12-15.

        121.      Mr. Hyatt and his counsel agree that his specification does not describe windows

in a graphical user interface. Trial Tr., Dec. 5, 2017, AM, 12:9-12 (Mr. Hyatt: “This is completely

different than a graphical user interface type system.”), 17:14-18; Trial Tr., Dec. 5, 2017, PM,

46:24-47:3; Trial Tr., Dec. 4, 2017, AM, 13:22-14:1 (counsel arguing same).

        122.      Trying to be consistent with the position that the specification does not cover a

graphical user interface, Mr. Hite asserted that a person using windows in a graphical user interface

would not be practicing the claims of the ’211 application. Trial Tr., Jan 18, 2018, 70:16-21; see

also Hyatt FF, ¶ 171 (asserting that “the broadest reasonable interpretation of the term ‘window’

as used in the claims does not include a graphical user interface”). Mr. Hyatt agreed that “the



21
   Mr. Hyatt asserts that Dr. Castleman’s testimony was “not credible” because it relied on Mr.
Hyatt’s stating that “his system was ‘operator interactive’ in a Reply Brief to the Board.” Hyatt
FF, ¶ 201. Not only did Dr. Castleman rely on much more in Mr. Hyatt’s brief to the Board than
just a statement that the windows in the system were “operator interactive,” but he also relied on
the actual language of the claims and the description provided in the specification. Trial Tr., Jan.
19, 2018, 218:15-21; id. at 232:8-18.

Mr. Hyatt also asserts that Dr. Castleman’s expert report addresses “computer operator aids” only
in the context of the term “icon” and not in the context of the term “window.” Hyatt FF, ¶ 209.
That is incorrect. Dr. Castleman’s expert report contained a paragraph in which he led with, “Mr.
Hyatt argued to the PTO Board in his Reply Brief that his patent claims were directed to user-
interactive computer display windows.” DX2018.34 (emphasis added); Trial Tr., Jan. 19, 2018,
282:23-283:22. Dr. Castleman then listed Mr. Hyatt’s arguments in bullet points in the same
paragraph, including the statement that “the claimed ‘windows’ hav[e] menus, cursors, icons, or
other computer operator aids.” Id. Dr. Castleman emphasized that language about computer
operator aids, in reference to Mr. Hyatt’s arguments about windows.



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claims are directed to the image processing technology, not to the graphic user interface

technology.” Trial Tr., Dec. 4, 2017, AM, 27:4-9; but see Trial Tr., Dec. 4, 2017, AM, 26:25-27:3

(Q. “Are you seeking to claim in the claims of the ’211 application a graphical user interface?”

Mr. Hyatt A. “No, I’m not, if the claims don’t cover that technology.”).

       123.    But Mr. Hyatt continues to stand behind the statements he made in the reply brief

about what his claims cover. Trial Tr., Dec. 5, 2017, AM, 42:1-10. And he testified in his

deposition that “claim 172 is not limited to user-interactive” (Trial Tr., Dec. 5, 2017, PM, 47:11-

14), meaning he thinks it is broad enough to cover user-interactive windows.

       124.    Thus, Dr. Castleman explained that the claims are operating under a definition of

“window” that is a “computer operator aid, as used in a graphical user interface, which is visible

to the user, is capable of overlapping, and is user interactive.” 22 Trial Tr., Jan. 18, 2018, 172:1-

10; Trial Tr., Jan. 19, 2018, 182:1-4; see DX2050.42. And Dr. Castleman agreed with the Board

that the window, as used in the claims, is not described in the specification. Trial Tr., Jan. 19,

2018, 182:5-183:1.

               4.      Mr. Hyatt has taken numerous inconsistent positions on the
                       meaning of the word “window”

       125.    Throughout this proceeding, both in court and at the USPTO, Mr. Hyatt and his

expert have taken numerous inconsistent positions on the definition of the word “window.”




22
   In his expert report, Dr. Castleman used the similar definition of “a separate user interactive
viewing area on a display screen.” Trial Tr., Jan. 19, 2018, 198:7-9. Dr. Castleman explained that
the two definitions were “basically alternate ways of saying essentially the same thing.” Trial Tr.,
Jan. 19, 2018, 281:16-282:1. He explained that he “just used different words.” Id. As he
elaborated, “user interactive” implies a computer operator aid and implies a graphical user
interface, in the context of this case. Id. at 282:14-19.



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       126.    Mr. Hyatt argued to the USPTO that “window” had to be user interactive. Supra

¶¶ 114-119; DX2008.7 (Mr. Hyatt stating in his opening brief to the Board that the “instant claims

are directed to an operator interactive window display invention”).

       127.    Meanwhile, Mr. Hite, having been hired as the expert for Mr. Hyatt, when asked,

“Are either of the descriptions of Mr. Hyatt’s windows described as being user interactive,” stated,

“I would have to say no.” Trial Tr., Jan. 18, 2018, 67:22-24. “[T]he specification describes an

operator interactive system, but the windows are not interactive on their own.” Id. at 68:23-25.

       128.    Within Mr. Hyatt’s proposed findings of fact, Mr. Hyatt actually takes two different

inconsistent positions about the window that is displayed. In one place, Mr. Hyatt adopts the

definition that the displayed window is the “windowed viewport,” in which “the viewport is

divided into a plurality of different areas, called windows, for different images.” Hyatt FF, ¶ 173

(referencing PTX4.7633 (or DX2002.154)). Mr. Hite did the same at trial, explaining that the

sentence about “windowing of the viewport” “provides written description that you can have

multiple windows of image information on the viewport, which is the display.” Trial Tr., Dec. 5,

2017, PM, 75:9-21; see Trial Tr., Jan. 18, 2018, 64:13-17 (“[O]ne description is content specific

to the memory and the other one is to the display.”); id. at 99:21-101:15 (Mr. Hite explaining that

“windowing of the viewport” means that the screen “can be divided up into different areas which

can overlay or overlap or be independent, and each of those areas would contain an image,” and

that the definition “a portion of the display containing an image” is consistent with the description

of “windowing of the viewport”).

       129.    Elsewhere, Mr. Hyatt tries to disclaim that definition and assert that only one

definition of “window” applies to the claims—the one in which a “window” only exists in memory.

Mr. Hyatt asserts that the disclosure “expressly disclaims the interpretation of ‘window[s]’” that




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is “a plurality of areas on the display screen or viewport, each of which is used to display a different

image.” Hyatt FF, ¶ 191. Mr. Hyatt cannot take inconsistent positions on the definition of window

depending on the particular immediate need.

        L.      Mr. Hyatt’s claims use the word “menu” to cover menus shown on the
                output monitor, which was not disclosed or described in the
                specification

        130.    Each of the claims that recites a menu recites it being displayed on the output, or

display, monitor. See, e.g., DX2003.9 (claim 172 reciting “displaying . . . a first window of three

dimensional perspective images further overlaid by a menu image”). Further, Mr. Hite asserts that

those menus are “user interactive menus” displayed on the output monitor. Trial Tr., Jan 18, 2018,

87:15-23, 89:6-11.

        131.    Indeed, in his appeal to the Board, Mr. Hyatt argued for the patentability of claims

reciting a “pull-down menu image” displayed on the output monitor. DX2003.7-8 (claim 170

reciting “generating first pull-down menu information,” “generating second pull-down menu

information,” and “displaying . . . a first pull-down menu image and . . . a second pull-down menu

image.”); Trial Tr., Dec. 5, 2017, PM, 32:1-3 (Mr. Hyatt agreeing that some of the claims he

appealed to the Board related to pull-down menus). And Mr. Hite discussed a definition of a “pull-

down menu” in his supplemental expert report because, up until just before trial, Mr. Hyatt

maintained that claim 170’s pull-down menu image was patentable under his written description

of a menu. Trial Tr., Jan. 18, 2018, 86:7-25.

        132.    Dr. Castleman discussed what a pull-down menu is: “The user would see what’s

called a menu bar, which is a line that would have the names of different menus that are available.”

Trial Tr., Jan. 19, 2018, 186:3-22. The user “would move the pointer to one of those menu names,

and then press the button or otherwise activate that particular selection. At that point the computer

would then cause the corresponding menu to be displayed, typically below the name on the menu


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bar. That’s why it’s called a pull-down menu.” Id. After causing the menu to be displayed, the

user “would then be able to see the selection options that are available in that menu, and would

then move the pointer to the desired selection and activate it by pressing a button, at which point

the computer would then execute that particular option.” Id.

       133.    The user’s interactions with the displayed image send information “back to the

computer, which then executes the selected software.” Trial Tr., Jan. 19, 2018, 187:10-15 (Dr.

Castleman). “One of skill in the art at the time would know that a pull-down menu is terminology

directly from the land of graphical user interfaces because it describes the action of a graphical

user interface. When you click on the menu name on the menu bar, the menu appears to drop

down from the menu bar, and so that terminology comes directly from graphical user interface

technology. One of skill in the art would understand that.” Trial Tr., Jan. 19, 2018, 186:23-187:9.

       134.    A pull-down menu thus requires precisely the sort of “point and click and drag and

drop features” that Mr. Hyatt argues are characteristic of an “established GUI.” Hyatt FF, ¶¶ 212,

216, 204.

       135.    Mr. Hyatt’s use of “menu” must be broad enough to support the claim he argued to

the Board that recites a “pull-down menu.” Thus, even though he has dropped any claim that

recites a “pull-down menu” before this trial, Mr. Hyatt’s use of that term in the prosecution history

must be taken into account in defining the word “menu.” Trial Tr., Jan. 19, 2019, 187:24-188:9

(Dr. Castleman).

       136.    Similarly, the term “menu window” appears in Mr. Hyatt’s claims. See DX2003.59

(claim 472). Mr. Hyatt maintains that a “menu window” is described in the specification, even

though the term “menu window” never even once appears in the 650-plus page specification. See

Trial Tr., Jan. 18, 2018, 92:7-19 (Mr. Hite); Trial Tr., Jan. 19, 2018, 180:17-21 (Dr. Castleman).




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       137.    In fact, Mr. Hyatt did not disclose a menu displayed on the output monitor at all.

The only menus he disclosed were displayed on the input terminal monitor. See supra ¶¶ 58-67.

       138.    Mr. Hyatt argues that his disclosure covers menus being shown on the output

monitor because any image can be saved in the database and called up to be shown on the output

monitor. But that ignores both that (1) the specification never discusses showing a menu on the

output monitor, and (2) it would not make any sense to display a menu on Mr. Hyatt’s output

monitor because Mr. Hyatt’s system uses menus to choose what to display on the output monitor.

Supra ¶¶ 65-66. Once the menu was shown, it would be too late for the user to interact with or

choose an option from that menu.

       139.    For example, following the code in Mr. Hyatt’s specification, a menu would first

appear on the input terminal monitor. That menu would say at the top, “SELECT IMAGE TO BE

LOADED INTO IMAGE MEMORY.” PTX4.8101 (or DX2002.622) (line 122). Then, among

the options of images, in addition to “concentric square frames,” “rectangles and lines,” “spirals,”

“square pattern,” and others, there would have to appear—hypothetically—an additional option

that said “image of a menu” or the like. So perhaps “image of a menu” would appear after line

142, and the user could press 13 to select “image of a menu.” If the user pressed the number 13,

a predetermined picture of a menu would appear on the output monitor. By that time, the user

would be finished using the actual menu from the input terminal monitor, and finished picking

options, because an image would already be on the output monitor. See Trial Tr., Jan. 18, 2018,

159:18-161:21 (Dr. Castleman explaining that image processor accesses an image to put on the

output monitor only after the user has picked it from a menu on the input terminal monitor); id. at

80:10-13, 81:17-24, 82:20-83:6 (Mr. Hite agreeing that image must be selected, then loaded into

memory, then displayed); Hyatt FF, ¶ 306 (“‘the architect can select a shrub as an overlay object’




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(which will then be stored in overlay image memory)” (emphasis added)). Of course, Mr. Hyatt’s

specification did not include “image of a menu” among its menu options.

       140.    And, in light of Mr. Hyatt’s 2001 arguments to the USPTO, a menu image is part

of “an interactive display system.” Trial Tr., Jan. 19, 2018, 184:24-185:12. As Dr. Castleman

explained, “one of skill in the art would interpret [Mr. Hyatt’s claimed ‘menu image’] to mean that

the operator would see a menu or cause a menu to be displayed on the display screen itself, and

would then make a choice of one of the items on the menu, typically by moving a pointer to a

particular item and pressing a button or touching the screen at the location where that menu item

is located. The software would then detect that and would cause to be executed the software that

corresponds to that particular menu selection.” Id. Thus, using a “menu image” as claimed would

require having a graphical user interface. Id.

       141.    Similarly, even though Mr. Hyatt has conceded that his specification does not

contain graphical-user-interface type menu features (Hyatt FF, ¶ 241), Mr. Hite argued that point

and click and drag and drop menus were somehow disclosed in the specification to show “a menu”

that the user “could select a shrub from” (Trial Tr., Dec. 6, 2017, AM, 54:18-55:12). Specifically,

to support his interpretation of the claimed menus, Mr. Hite stated that, within Mr. Hyatt’s

specification, on the “display screen,” “you could construct [a menu] out of a couple of overlaying

images where the one would be kind of visualized as a paned window that might contain nine

sections. . . . And the architect could, for example, use a joystick to move through the list or display

of objects. And they would pretty much be framed in the window.” Trial Tr., Dec. 6, 2017, AM,

54:18-55:12; Hyatt FF, ¶ 238. Using a joystick (or mouse or other device) to move through a

display of various objects to pick one is what is in a graphical-user-interface type menu.




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       142.    Thus, the USPTO has proposed that the word “menu” should be construed as “an

on-screen display of command options presented to the user for selection directly on the menu

itself, e.g., by using a mouse-controlled pointer.” ECF No. 57 at 4.

       143.    Given all of the evidence from the specification, claims, prosecution history, and

testimony at trial, Dr. Castleman opined that the word “menu” is not described in the specification

as it is used in the claims, so the claims that recite the word “menu” are not patentable based on

the written description requirement. Trial Tr., Jan. 19, 2018, 188:14-189:5.

       M.      Mr. Hyatt’s claims use the word “icon” to cover icons that are user-
               interactive, which was not disclosed or described in the specification

       144.    Some of Mr. Hyatt’s claims recite the word “icon.” For example, claim 415 reads

as follows:

               A process comprising the acts of:

               generating background image information;

               generating icon image information;

               overlaying the icon image information onto the background image
               information;

               generating a window of graphics image information;

               overlaying the window of graphics image information onto the
               background image information overlapping with the icon image
               information; and

               displaying a background image overlaid by an icon image and
               overlaid by an overlapping window of graphics images in response
               to the background image information overlaid with the icon image
               information and in response to the background image information
               overlaid with the overlapping window of graphics image
               information.

DX2003.45-46 (emphasis added).

       145.    Mr. Hyatt stated at trial that an icon “is a small symbol generally used to identify a

feature of . . . an image.” Trial Tr., Dec. 5, 2017, AM, 20:20-24. And, according to Mr. Hyatt,


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although some “terrain primitives” in the specification are not computer operator aids (Trial Tr.,

Dec. 5, 2017, AM, 23:7-12), an icon is a computer operator aid because its “purpose is to identify

a portion of an image for the operator.” Id. at 20:25-21:3. Mr. Hite, however, stated that a person

using a user-interactive icon would not be practicing the claims reciting “icon.” Trial Tr., Jan 18,

2018, 73:1-3.

        146.    As Dr. Castleman explained, with regard to the use of the word “icon” in the claims,

particularly in light of what Mr. Hyatt said to the USPTO in 2001 about his claimed icons, “[o]ne

of skill in the art would interpret this to mean the type of icon you find in a graphical user interface,

the type of icon that can be used to open a window or perform other software operations directly

from the display screen.” Trial Tr., Jan. 19, 2018, 192:1-10.

        147.    The Board defined an “icon” as requiring “displaying a small graphics image on a

screen to represent an object that can be manipulated by the user.” DX2011.52 (citing Microsoft

Press Computer Dictionary 205 (2d ed. 1994)). Dr. Castleman agreed with the Board’s definition

“to a degree.” Trial Tr., Jan. 19, 2018, 193:5-15. The Board’s definition says that an icon

represents an object that “can be manipulated by a user. I think one would understand that

manipulation means more than just moving it around on the screen. It would include being able

to use that icon to activate execution of software.” Id.

        148.    Dr. Castleman concluded that the specification does not describe the kind of user-

interactive icon that is claimed in Mr. Hyatt’s claims. Trial Tr., Jan. 19, 2018, 193:12-18. Thus,

he concluded that the word “icon” as used in the claims is not supported by the written description.

Id.




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       N.      The Board determined that all of the 1999 claims lack written
               description support

       149.    In 2005, the Board issued its initial and rehearing decisions on the 1999 claims,

affirming the examiner’s rejection of each claim for lack of written description. To back up a bit,

after Mr. Hyatt received the notice of allowance in 1988 and abandoned his 1984 ’094 application

(discussed supra ¶¶ 41-43), he opted to pursue an entirely different set of claims in the ’211

application. PTX4.6868-6890. In 1997, Mr. Hyatt again overhauled his claims, canceling all but

four of the claims that were then pending, to have a total of 213 almost entirely new claims.

PTX4.6392. And in 1999, Mr. Hyatt thoroughly amended his pending claims and added another

nearly 200 entirely new claims. PTX4.5869; PTX4.5905. Thus, by the time Mr. Hyatt appealed

the rejection of his nearly 300 claims to the Board, they bore no resemblance to the claims filed in

1984 or even those filed in 1997, based on the same specification.

       150.    The examiner rejected the claims for lack of written description.          See, e.g.,

PTX4.6790 (nonfinal office action of Sept. 22, 1995); PTX4.6626 (final office action of July 31,

1996); PTX4.6055 (nonfinal office action of Aug. 23, 1998); PTX4.5746-5756 (final office action

of Aug. 27, 1999). The examiner explained that Mr. Hyatt had failed to “specifically mention a

single claim or specific rejection” in responding to office actions. PTX4.5772. Instead, Mr. Hyatt

stated that he disagreed with the rejection; stated that the claim language need not come verbatim

from the specification; stated that the applicant is presumptively correct; and stated without

examples or evidence that the specification supplies written description for the claims.

PTX4.5772-5779 (examiner’s summary of Mr. Hyatt’s arguments); PTX4.6013-6041 (Mr. Hyatt’s

arguments). The examiner later explained in response to Mr. Hyatt’s appeal brief that Mr. Hyatt’s

“discussion of claim 172 in the ‘Summary of the Invention’ of the Brief is the first time in the

prosecution history of this application that he has presented any specific remarks directed to where



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he believes he has support for any specific claim, even though the claims have repeatedly been

rejected under 35 U.S.C. 112, first paragraph.” PTX4.4785 (examiner’s answer).

       151.    The Board affirmed the examiner’s rejections based on the lack of written

description support for “window” and “menu.” The Board also affirmed some of the examiner’s

rejections of “making a product” claims. DX2011. The Board denied Mr. Hyatt’s rehearing

petition. DX2012.

       152.    The Board explained that, had Mr. Hyatt “shown support in his original disclosure

for each of the new claims when he filed his amendments, he might have preempted a written

description rejection thereof. [Mr. Hyatt] chose not to do so.” DX2011.8 (emphasis in original).

The Board further explained that Mr. Hyatt had not chosen to provide written description support

for his claims until his appeal brief to the Board, rather than when the application was in front of

the examiner. Id.

       153.    In light of Mr. Hyatt’s arguments in his appeal briefs, the Board explained that the

“invention at issue concerns ‘an operator interactive window display.’” DX2011.2 (quoting

DX2010.155).     The Board added that the claims “require simultaneously displaying plural

windows on the same screen.” DX2011.43. In particular, referring to claim 172, “the limitations

require overlaying a window showing at least one three dimensional (‘3D’) image onto a

background image; overlaying a menu onto the window showing the 3D image; and overlaying a

window showing graphics onto the background image such that it overlaps with the window

showing the 3D image.” DX2011.13-14. The Board explained that, as alleged support for the

terms “window” and “menu,” Mr. Hyatt had pointed to portions of the specification that did not

mention windows, and they did not mention menus in the context of windows. DX2011.15, 17,

18. The Board thus found that Mr. Hyatt had not conveyed that he “had possession” of the claimed




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invention as of the filing date of his application. DX2011.15-16. The Board affirmed the

examiner’s written description rejection. DX2011.18-19; DX2012.2-6 (rehearing decision).

       154.    With respect to the term “icon,” the Board construed the term as “a small graphics

image displayed on the screen to represent an object that can be manipulated by the user.”

DX2011.52 (quoting Microsoft Press Computer Dictionary 205 (2d ed. 1994)). The Board did not

separately address written description for the word “icon.”

       155.    The Board also addressed the “making a product” claims. DX2011.19-24, 36-39.

The Board affirmed the written description and enablement rejections of some of those claims and

reversed the rejections of others. Among other things, the examiner had not specifically addressed

some of them, leading the Board to reverse those rejections. Id. For the affirmed rejections, the

Board explained that, “without knowing the identity of the claimed products, we are not persuaded

that the specification would have enabled one skilled in the art to make and use the claimed

products without undue experimentation.”         DX2011.39; see DX2011.23-24; DX2012.7-9

(rehearing decision).

       O.      Mr. Hyatt introduced no testimony at trial that any dependent claim
               was supported by the written description

       156.    At trial, Mr. Hyatt introduced no testimony that any dependent claim was supported

by the written description. The USPTO moved for judgment as a matter of law on the basis that

Mr. Hyatt had failed to introduce any testimony on those claims. Trial Tr., Jan. 18, 2018, 101:22-

105:5. Further, counsel for the USPTO explained, this Court has already determined on summary

judgment in Case No. 09-1864 that claims taking the very same form—dependent claims that recite

a further step of “making a product,” “making a signal product,” or the like—based on the very

same specification fail for lack of written description. See Case No. 09-1864, ECF No. 71 (Aug.

23, 2016). In response, Mr. Hyatt’s counsel simply requested that the parties be allowed to brief



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the issue. Trial Tr., Jan. 18, 2018, 105:7-16. But Mr. Hyatt still did not introduce any testimony

or argument to sustain his burden that the “making a product” claims are supported by the written

description.

                           PROPOSED CONCLUSIONS OF LAW

       A.      Burden of proof

       157.    In a § 145 action, “it is the plaintiff and not the USPTO that bears the burden of

proof.” Disney Enters., Inc. v. Rea, 940 F. Supp. 2d 288, 292 (E.D. Va. 2013). Indeed, the Federal

Circuit has explained that in a § 145 action, “the applicant has the laboring oar to establish error

by the board.” Fregeau v. Mossinghoff, 776 F.2d 1034, 1038 (Fed. Cir. 1985).

       B.      Standard of review

       158.    This action is a hybrid action—partly an appeal and partly a new evidentiary

proceeding. Unlike an appeal, new evidence can be added in a section 145 action. But like an

appeal, the Board’s decision forms the evidentiary nucleus of the case. See Hyatt v. Kappos, 625

F.3d 1320, 1322 (Fed. Cir. 2010) (en banc), aff’d, 566 U.S. 431 (2012).

       159.    Findings made by the Board untouched by any new evidence are reviewed by this

Court with APA deference—a substantial-evidence review. Hyatt, 625 F.3d at 1336 (“When the

court reviews a case on the administrative record—that is, when no party introduces new

evidence—the court applies the APA standard of review to Patent Office fact findings.”).

       160.    A plaintiff in a § 145 action is free to introduce new evidence subject only to the

Federal Rules of Evidence and the Federal Rules of Civil Procedure. Kappos, 566 U.S. at 444.

This “court must make a de novo finding when new evidence is presented on a disputed question

of fact.” Id. at 434. And, this Court “must assess the credibility of new witnesses and other

evidence, determine how the new evidence comports with the existing administrative record, and

decide what weight the new evidence deserves.” Id. at 444. In deciding the weight to afford to


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the new evidence, this Court may “consider the proceedings before and findings of the Patent

Office.” Id. at 445 (quoting Hyatt, 625 F.3d at 1335).

       C.      Applicable law

       161.    In examining a patent application, the USPTO determines, among other things,

whether the application satisfies the requirement of 35 U.S.C. § 112 that “[t]he specification . . .

contain a written description of the invention.” The USPTO is “not only permitted but obligated

to reject” a claim “when appellants failed precisely to define in the written description the disputed

language, and there was a reasonable alternative definition.” In re Morris, 127 F.3d 1048, 1057

(Fed. Cir. 1997).

       162.    “The essence of the written description requirement is that a patent applicant, as

part of the bargain with the public, must describe his or her invention so that the public will know

what it is and that he or she has truly made the claimed invention.” AbbVie Deutschland GmbH

& Co., KG v. Janssen Biotech, Inc., 759 F.3d 1285, 1298 (Fed. Cir. 2014). The purpose of the

written description requirement “is to ‘ensure that the scope of the right to exclude, as set forth in

the claims, does not overreach the scope of the inventor’s contribution to the field of art as

described in the patent specification.’ It is part of the quid pro quo of the patent grant and ensures

that the public receives a meaningful disclosure in exchange for being excluded from practicing

an invention for a period of time.” Ariad Pharms., Inc. v. Eli Lilly and Co., 598 F.3d 1336, 1353-

1354 (Fed. Cir. 2010) (en banc) (citations omitted). Determining whether the written description

requirement has been met “requires an objective inquiry into the four corners of the specification

from the perspective of a person of ordinary skill in the art. Based on that inquiry, the specification

must describe an invention understandable to that skilled artisan and show that the inventor

actually invented the invention claimed.” Id. at 1351. Whether the written description requirement

has been met is a question of fact. Id.


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        163.    The Federal Circuit has explained, “The purpose of the ‘written description’

requirement is broader than to merely explain how to ‘make and use’; the applicant must also

convey with reasonable clarity to those skilled in the art that, as of the filing date sought, he or she

was in possession of the invention.” Vas-Cath Inc. v. Mahurkar, 935 F.2d 1555, 1563-64 (Fed.

Cir. 1991). As the Federal Circuit explained, a “patent is not a hunting license. It is not a reward

for the search, but compensation for its successful conclusion.” Ariad, 598 F.3d at 1353. The

applicant must—as of the filing date—“conceive of the complete and final invention with all its

claimed limitations [] and disclose the fruits of that effort to the public.” Id.

        164.    The Federal Circuit has stated the written description requirement another way:

“one skilled in the art, reading the original disclosure, must immediately discern the limitation at

issue in the claims.” Purdue Pharma LP v. Faulding Inc., 230 F. 3d 1320, 1323 (Fed. Cir. 2000).

        165.    Part of the requirement of public disclosure is that the applicant must ensure that

the boundaries of the invention are clear. “This clarity is essential to promote progress, because it

enables efficient investment in innovation. A patent holder should know what he owns, and the

public should know what he does not. For this reason, the patent laws require inventors to describe

their work in ‘full, clear, concise, and exact terms,’ 35 U.S.C. § 112, as part of the delicate balance

the law attempts to maintain between inventors, who rely on the promise of the law to bring the

invention forth, and the public, which should be encouraged to pursue innovations, creations, and

new ideas beyond the inventor’s exclusive rights.” Festo Corp. v. Shoketsu Kinzoku Kogyo

Kabushiki Co., 535 U.S. 722, 730-31 (2002). Thus, contrary to Mr. Hyatt’s argument (ECF No.

62 at 10), “[i]t is the applicants’ burden to precisely define the invention, not the PTO’s.” Morris,

127 F.3d at 1056. The definiteness requirement of the Patent Act “puts the burden of precise claim

drafting squarely on the applicant.” Id.




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        166.      Indeed, while the USPTO typically bears the initial burden of establishing a prima

facie case of unpatentability, once the agency notifies the applicant of the perceived shortcomings

in his application, “the burden shifts to the applicant to rebut the prima facie case with evidence

and/or argument.” Hyatt v. Dudas, 492 F.3d 1365, 1369-70 (Fed. Cir. 2007). For a written

description rejection, “[w]hen no such description can be found in the specification, the only thing

the PTO can reasonably be expected to do is to point out its nonexistence.” Id. at 1370. Indeed,

Mr. Hyatt does not contest that the USPTO presented a prima facie case of unpatentability against

the ’211 application. ECF No. 62 at 5 n.10. Thus, in order to contest the USPTO’s unpatentability

finding, Mr. Hyatt must demonstrate how the specification provides written description support

for the claims.

        167.      Section 112, ¶ 1’s twin requirements, of (1) describing the manner and process of

making and using the full scope of the invention, and (2) describing the invention sufficiently to

convey the patentee had possession of the claimed invention, are viewed in this same light and

“usually rise and fall together.” Lizard Tech, Inc. v. Earth Res. Mapping, Inc., 424 F.3d 1336,

1344-45 (Fed. Cir. 2005).

        168.      USPTO guidelines, adopted by the Federal Circuit, require “disclosure of

sufficiently detailed, relevant identifying characteristics . . . i.e., complete or partial structure, other

physical and/or chemical properties, functional characteristics when coupled with a known or

disclosed correlation between function and structure, or some combination of such characteristics.”

Enzo Biochem, Inc. v. Gen-Probe Inc., 323 F.3d 956, 964 (Fed. Cir. 2002). To provide written

description for a genus, “[o]ne needs to show that one has truly invented the genus, i.e., that one

has conceived and described sufficient representative species encompassing the breadth of the




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genus. Otherwise, one has only a research plan, leaving it to others to explore the unknown

contours of the claimed genus.” AbbVie, 759 F.3d at 1300.

       169.    Even if the specification describes each of the claim elements in isolation, that is

not sufficient to satisfy the written description requirement. Instead, the specification must

demonstrate that the inventor was in possession of the claimed system, i.e. all of the recited

elements, each connected in the manner recited in the claim. Novozymes A/S v. DuPont Nutrition

Biosciences APS, 723 F.3d 1336, 1349 (Fed. Cir. 2013) (explaining that each claim must be taken

“as an integrated whole rather than as a collection of independent limitations”); Hyatt v. Dudas,

492 F.3d 1365, 1371 (Fed. Cir. 2007) (upholding examiner’s rejection when the examiner stated

that “while each element may be individually described in the specification, the deficiency was the

lack of adequate description of their combination”); Trans Video Elecs., Ltd. v. Sony Elecs., Inc.,

822 F. Supp. 2d 1020, 1027 (N.D. Cal. 2011) (stating that “a court does not simply look to see

whether the specification contains descriptions of the individual elements of the claim,” but instead

“look[s] to see whether there is a written description for the entirety of the claimed invention—

i.e., the combination of elements”).

       170.    In fact, the Federal Circuit has found that patent claims lacked written description

support even where the specification “provide[d] formal textual support for each individual

limitation recited in the claims,” because the specification did not describe the claimed inventions

as a whole. Novozymes, 723 F.3d at 1349. Accordingly, “one cannot disclose a forest in the

original application, and then later pick a tree out of the forest and say here is my invention. In

order to satisfy the written description requirement, the blaze marks directing the skilled artisan to

that tree must be in the originally filed disclosure.” Purdue Pharma L.P. v. Faulding Inc., 230

F.3d 1320, 1326-27 (Fed. Cir. 2000).




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       171.      Furthermore, while the doctrines of written description and enablement are distinct,

determining if there is sufficient written description support for a broadly claimed invention can

be “analogous to enablement of a genus under § 112, ¶1, by showing the enablement of a

representative number of species within the genus.” Regents of the Univ. of California v. Eli Lilly

& Co., 119 F.3d 1559, 1569 (Fed. Cir. 1997); see also Kennecott Corp. v. Kyocera Int’l, Inc., 835

F.2d 1419, 1421 (Fed. Cir. 1987) (“These requirements may be viewed separately, but they are

intertwined.”)

       D.        Mr. Hyatt failed to meet his burden to show that the term “window”
                 satisfies § 112

       172.      In his use of the term “window,” Mr. Hyatt has tried to claim more than he invented.

As discussed above, Mr. Hyatt’s specification describes a window in two different ways, as a

portion of image memory and as a segment of a divided screen. The “portion of image memory”

definition works for the first part of each claim—where the claim recites “generating” a window,

which happens in memory. That definition does not work for the latter part of each claim, which

recites displaying a window. Only Dr. Castleman’s definition of “window” is broad enough to

encompass every part of each claim. Because Mr. Hyatt concedes that Dr. Castleman’s definition

is not described in the specification, this Court should affirm the Board’s determination that the

claims are invalid for lack of written description. And even if the two definitions of “window”

proposed by Mr. Hite could apply to each claim, the Court should find the claims invalid as

indefinite for requiring two different definitions of the same term within the same claim.

                 1.     Mr. Hyatt failed to show that “window” as claimed is described
                        in the specification

       173.      As discussed above (¶¶ 104-124), the only way for the word “window” as used in

the claims to have a single consistent definition is if it covers a graphical user interface. The first

place a court should look when construing a claim term is “the words of the claims themselves.”


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Phillips v. AWH Corp., 415 F.3d 1303, 1314 (Fed. Cir. 2005) (en banc). As the Federal Circuit

has explained, a claim term must be construed “consistently throughout the claims.” CVI/Beta

Ventures, Inc. v. Tura Lp, 112 F.3d 1146, 1159 (Fed. Cir. 1997); Digital Biometrics, Inc. v. Identix,

Inc., 149 F.3d 1335, 1345 (Fed. Cir. 1998) (“whatever interpretation we assign [to a single word]

should encompass both uses because the same word appearing in the same claim should be

interpreted consistently”). Of the definitions proposed at trial, only one definition for the word

“window” can apply consistently throughout the claims. That is the definition proposed by Dr.

Castleman: a “computer operator aid, as used in a graphical user interface, which is visible to the

user, is capable of overlapping, and is user interactive.” Supra ¶ 124. Graphical user interfaces

are capable of generating a window and displaying a window; graphical user interfaces can display

overlapping windows with interactive menus, pull-down menus, icons, cursors, and other

computer operator aids.

       174.    If Mr. Hyatt’s proposed definition were to be used instead, it could only be used for

the “generating” portions of the claims and not the “displaying” portions. Supra ¶¶ 92-100. Dr.

Castleman explained that Mr. Hyatt’s proposed definition is inconsistent with the “displaying”

portions of the claims. Supra ¶ 103. And Mr. Hite agreed that the claims require multiple different

definitions of the word “window” to apply if the claims are going to be supported by the

specification. Supra ¶¶ 48, 90, 93-96; Trial Tr., Jan 18, 2018, 64:13-17 (“[O]ne description is

content specific to the memory and the other one is to the display.”).

       175.    Indeed, the window that is generated must be different from the window that is

displayed for the additional reason that claim drafting conventions require that they be different

windows. Mr. Hyatt’s claims recite “a first window” twice—once when generating “a first

window” and once when displaying “a first window.”              The convention is that, to avoid




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indefiniteness, a claim should refer to the first instance of an object as “a first window,” and any

subsequent instance of that same object as “the first window” or “said first window.” When both

are referred to as “a first window,” the implication is that there are two different first windows.

See Radware, Ltd. v. A10 Networks, Inc., 2014 WL 2738538. *8 (N.D. Cal. June 11, 2014)

(explaining that claim that recited “a remote computer” twice in the same claim was not indefinite

because it was referring to two different remote computers); see generally Manual of Patent

Examining Procedure (MPEP) § 2173.05(e) (discussing indefiniteness based on problems with

antecedent basis). Thus, Mr. Hyatt is incorrect—from a claim drafting standpoint—that the

“windows viewable on the screen” could possibly be “the same windows mapped out for display”

(Hyatt FF, ¶ 173).

         176.   And, as discussed above (¶¶ 92-103), the windows that are “displayed” have no

written description support under Mr. Hyatt’s new proposed definition because (1) the window

contained in memory is not displayed, and (2) the “windowed viewport” does not make sense with

those displayed windows because the claimed displayed windows do things like overlap each

other.

         177.   Furthermore, as discussed above (¶¶ 114-119), Mr. Hyatt argued to the USPTO, to

avoid a prior-art rejection, that his claims cover user-interactive windows, menus, and icons.

Those arguments amount to an admission that Mr. Hyatt cannot avoid by arguing (Trial Tr., Jan.

19, 2018, 235:2-24) that he had not made the admission by 1984. See generally 35 U.S.C. §

301(a)(2) (“Any person at any time may cite to the Office in writing . . . statements of the patent

owner filed in a proceeding before . . . the Office in which the patent owner took a position on the

scope of any claim of a particular patent.”). Mr. Hyatt suggests that the Court should not take Mr.

Hyatt’s statements characterizing his claimed windows, menus, and icons at face value because,




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for other arguments in the same brief, it was convenient for him to characterize those terms a

different way. Hyatt FF, ¶ 221. But the fact that Mr. Hyatt has made inconsistent statements about

his claims does not prevent some of those statements from being admissions that limit the claims.

See Computer Docking Station Corp. v. Dell, Inc., 519 F.3d 1366, 1374-75 (Fed. Cir. 2008) (“A

patentee could [disavow claim scope], for example, by clearly characterizing the invention in a

way to try to overcome rejections based on prior art.”); Arendi S.A.R.L. v. Google LLC, No. 2016-

1249, 2018 WL 943636, *3 (Fed. Cir. Feb. 20, 2018) (reversing Board for failing to find a

disclaimer of claim scope during prosecution, under the broadest-reasonable-interpretation

standard). And unlike the doctrine of judicial estoppel, surrender of claim scope applies even

where the USPTO does not rely on the disclaimer. Springs Window Fashions LP v. Novo

Industries, L.P., 323 F.3d 989, 993-96 (Fed. Cir. 2003).

       178.    Graphical-user-interface type windows, unlike the invention that is described in Mr.

Hyatt’s specification, are used in all sorts of products that are used today, including personal

computers, cars with navigation systems, and smart televisions. Trial Tr., Jan. 19, 2018, 183:17-

184:10. As Dr. Castleman explained (¶ 124), that type of “window” is not described in Mr. Hyatt’s

specification. Mr. Hyatt agreed. Trial Tr., Dec. 5, 2017, AM, 12:9-12 (Mr. Hyatt: “This is

completely different than a graphical user interface type system.”), 17:14-18; Trial Tr., Dec. 5,

2017, PM, 46:24-47:3.

       179.    Thus, the specification simply does not support the full breadth of the claims, which

are broad enough to encompass user-interactive graphical-user-interface type “windows.” See,

e.g., Rivera v. Int’l Trade Comm’n, 857 F.3d 1315, 1319-23 (Fed. Cir. 2017); Cisco Systems, Inc.

v. Cirrex Systems, LLC, 856 F.3d 997, 1009-10 (Fed. Cir. 2017) (explaining that specification did

not support breadth of the claims, which recited “a technically difficult solution that the [patent]




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specification does not solve”); Halliburton Oil Well Cementing Co. v. Walker, 329 U.S. 1, 11

(1946) (“[T]o prevent extension of a patent’s scope beyond what was actually invented, courts

have viewed claims to combinations and improvements or additions to them with very close

scrutiny. . . . It is quite consistent with this strict interpretation of patents for machines which

combine old elements to require clear description in combination claims.”); Purdue Pharma L.P.

v. Faulding Inc., 230 F.3d 1320, 1327 (Fed. Cir. 2000); In re Brown, 477 F.2d 946, 952 (CCPA

1973) (explaining that invention was not enabled where there was little “description of the

operative relationships of the elements”).

       180.    Because the word “window” is recited in every claim at issue in this case, all of the

claims fail for lack of written description.

               2.      The evidence shows that “window” as claimed is indefinite
                       under Mr. Hyatt’s proposed construction

       181.    The definition that Mr. Hyatt proposes for “window”—“a portion of image memory

that is scanned out for image processing or display”—does not work for the displayed windows in

each claim. Because that “portion of image memory” resides in the computer’s memory, it is not

what is displayed. Supra ¶¶ 48-54, 94-97. If this Court were to adopt that claim construction, the

claims would require two different definitions for “window,” depending on context. Supra ¶¶ 48,

90, 92-103. In that situation, this Court should hold the claims indefinite.

       182.    A patent’s specification must “conclude with one or more claims particularly

pointing out and distinctly claiming the subject matter which the applicant regards as his

invention.” 35 U.S.C. § 112, ¶ 2. A pending claim is indefinite if its metes and bounds are ill-

defined because the claim contains words or phrases whose meaning is unclear. See In re Packard,

751 F.3d 1307, 1310 (Fed. Cir. 2014) (citing MPEP § 2173.05(e)); see also MPEP § 2173.02(I)

(9th ed. Rev. 7, Nov. 2015) (advising examiners that a rejection for indefiniteness is appropriate



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“after applying the broadest reasonable interpretation to the claim, if the metes and bounds of the

claimed invention are not clear”); cf. Nautilus Inc. v. Biosig Instruments, Inc., 134 S. Ct. 2120,

2129 (2014) (A “patent must be precise enough to afford clear notice of what is claimed, thereby

appris[ing] the public of what is still open to them.” (internal quotation marks and citations

omitted)). Thus, “during patent prosecution when claims can be amended, ambiguities should be

recognized, scope and breadth of language explored, and clarification imposed.” In re Zletz, 893

F.2d 319, 321 (Fed. Cir. 1990). In situations where the broadest reasonable interpretation of a

term reveals ambiguity, “the applicant may ‘amend his claims to obtain protection commensurate

with his actual contribution to the art.’” In re Yamamoto, 740 F.2d 1569, 1571 (Fed. Cir. 1984)

(quoting In re Prater, 415 F.2d 1393, 1404-05 (CCPA 1969)).

       183.    Indefiniteness is a question of law. Teva Pharms. USA, Inc. v. Sandoz, Inc., 789

F.3d 1335, 1341 (Fed. Cir. 2015).

       184.    Teva is a particularly relevant case to the facts here. In Teva, the claims at issue

were directed to a drug product with a chemical composition within a certain range of molecular

weights. 789 F.3d at 1338. There were at least three ways to measure and report “molecular

weight,” and each would produce different results. Id. at 1341. The patent at issue did not state

which specific method should be used, and the prosecution history contained two contradictory

statements as to which measuring method should be used. Id. at 1338-39, 1345. Under those

circumstances, the Federal Circuit determined that the claims were invalid for indefiniteness. Id.

Thus, the Federal Circuit held that a claim that is susceptible to two different definitions, where

the applicant (or patentee) has argued for both, is indefinite.

       185.    That is the case here. Mr. Hyatt’s current proposed definition cannot cover all of

the instances of “window” that occur in each claim. And Mr. Hyatt and Mr. Hite have previously




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argued that the definition of window actually varies, within a single claim, depending on context.

Supra ¶¶ 90, 93-96. The specification itself refers to several different types of windows. Supra

¶¶ 45-57. That is a classic case of indefiniteness. Thus, if the Court does not find the claims

invalid for lack of written description, it should nevertheless hold them indefinite, based on the

undefined term “window.”

       E.      Mr. Hyatt failed to meet his burden to show that the term “menu” as
               claimed is described in the specification

       186.    Mr. Hyatt’s claims recite menus that are shown and interacted with on the output

monitor. Supra ¶¶ 130-143. His specification discusses only menus that are shown on the text-

only input terminal monitor. Supra ¶¶ 58-67. Because menus that are shown on the output monitor

are not described in the specification, the claims that recite the word “menu” are invalid for lack

of written description.

       187.    Mr. Hyatt explained that the code he wrote to show a menu always showed the

menu on the input terminal monitor. Supra ¶¶ 59-60. He agreed that he never implemented a

picture of a menu being shown on the output monitor. Supra ¶ 64. Mr. Hite argues that a picture

of alphanumerics—or text—shown on the output monitor is a written description of a menu shown

on the output monitor. Supra ¶¶ 63, 67. But text is not necessarily a menu (Trial Tr., Jan. 18,

2018, 77:18-19 (Mr. Hite)), and Mr. Hyatt’s claims separately recite displaying a “menu image”

and displaying a “window of alphanumeric images,” showing that Mr. Hyatt understands that

menus and alphanumeric images are different things. See Apple, Inc. v. Ameranth, Inc., 842 F.3d

1229, 1237-38 (Fed. Cir. 2016) (applying the broadest reasonable construction, Board properly

construed the term “menu” to not require a hierarchical structure since that feature was expressly

recited in other claim terms). And, as discussed above (¶¶ 65-66, 138-139), it would not make

sense to show a menu on the output monitor because, by the time the picture of the menu was



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accessed from the database, there would no longer be a need for a menu. Thus, although any image

can be theoretically loaded into the database and displayed—including one with text—if an image

of a menu were loaded and displayed it would not be able to function as a menu. That is true even

under Mr. Hyatt’s proposed definition of “an on-screen display of options presented to a user for

selection.” Hyatt FF, ¶ 227.

       188.    Indeed, Mr. Hyatt’s claims require user interaction with the menu on the output

monitor, not just a still image of a menu. Mr. Hite called the claimed menus “user interactive

menus” (Trial Tr., Jan 18, 2018, 87:15-23, 89:6-11; see supra ¶¶ 130-131, 141), Mr. Hite explained

that the menu on the output monitor would allow the user to “for example, use a joystick to move

through the list or display of objects” (Trial Tr., Dec. 6, 2017, AM, 54:21-55:12; Hyatt FF, ¶ 238),

and Mr. Hyatt’s claims included things like “pull-down menus,” which require a user to point to

or click on something on the screen to cause the menu to pull down (supra ¶¶ 131-135). These are

classic graphical-user-interface capabilities. Hyatt FF, ¶¶ 212, 216, 204. That is why Dr.

Castleman explained that a “menu” as claimed requires user-interactive graphical-user-interface

functionality. See, e.g., Trial Tr., Jan. 19, 2018, 184:24-185:12.

       189.    Although Mr. Hyatt dropped his claims that recite a “pull-down menu” before trial,

his argument to the Board that those claims were patentable as a type of “menu” available to be

displayed on the output monitor shows the interpretation of the term “menu” he was relying on for

his claims. Schriber-Schroth Co. v. Cleveland Trust Co., 311 U.S. 211, 217-18 (1940) (“[T]he

particular invention to which the patentee has made claim in conformity to the statute is not always

to be ascertained from an inspection of the specifications and claims of the patent alone. Where

the patentee in the course of his application in the patent office has, by amendment, canceled or

surrendered claims, those which are allowed are to be read in light of those abandoned.”).




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       190.    Thus, the USPTO proposes that the term “menu” be construed to be “an on-screen

display of command options presented to the user for selection directly on the menu itself, e.g., by

using a mouse-controlled pointer.” ECF No. 57 at 4. That type of menu is not described in Mr.

Hyatt’s specification. Supra ¶ 143.

       191.    Furthermore, as discussed above (¶¶ 62, 113, 136, 140), the terms “menu image”

and “menu window” do not appear anywhere in the specification. Although the precise claim

terms are not required to appear in the specification for them to have written description support,

“the terms and phrases used in the claims must find clear support or antecedent basis in the

description so that the meaning of the terms in the claims may be ascertainable by reference to the

description.” 37 C.F.R. § 1.75(d)(1).

       192.    Because Mr. Hyatt’s claimed menus are not described in the specification, all of the

claims that recite that term are invalid for lack of written description.

       F.      Mr. Hyatt failed to meet his burden to show that the term “icon” as
               claimed is described in the specification

       193.    As discussed above (¶¶ 68-70), the word “icon” appears once in the specification,

as an example of a “terrain primitive.” A terrain primitive is a small reproducible image. Mr.

Hyatt stated at trial that such small reproducible images as disclosed in the specification are not

“operator aid[s].”   Trial Tr., Dec. 5, 2017, AM, 23:7-12.          And Mr. Hyatt agrees that the

specification does not use icons as images that can be clicked on to execute a program or “control

anything.” Id. at 21:16-23.

       194.    But, when it comes to the claims, Mr. Hyatt argued to the Board that icons are

“computer operator aids.” Supra ¶¶ 114, 118. Given that argument, the Board defined an “icon”

as requiring “displaying a small graphics image on a screen to represent an object that can be

manipulated by the user.” DX2011.52. And based on Mr. Hyatt’s argument to the Board and use



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of “icon” in his claims, Dr. Castleman added that “one would understand that manipulation means

more than just moving it around on the screen. It would include being able to use that icon to

activate execution of software.” Trial Tr., Jan. 19, 2018, 193:5-15.

        195.   Because an icon by that definition is not described in Mr. Hyatt’s specification, this

Court should find that the term “icon” lacks written description support. Thus, all of the claims

that recite the term “icon” are invalid for lack of written description.

        G.     Mr. Hyatt failed to present any evidence at all that the “making a
               product” claims are patentable, and this Court has held claims in that
               form to lack written description based on the same specification

        196.   Furthermore, all 140 claims that recite “making a product,” “making a display

product,” or the like, also fail for lack of written description and lack of enablement. All of the

dependent claims at issue in this case take that form. This Court should hold that Mr. Hyatt has

failed to meet his burden to prove patentability of those claims for two separate reasons—he failed

to put on any testimony about those claims, and even if he had, virtually identical claims have

already been held unpatentable by this Court, and the reasons the Court gave apply equally in this

case.

        197.   First, Mr. Hyatt did not put on any evidence at trial that any of the “making a

product” claims are supported by the written description. Indeed, he did not mention a single one

of the dependent claims at all during the trial. Mr. Hyatt bears the burden to prove the validity of

each and every claim at issue. In a § 145 action, “it is the plaintiff and not the USPTO that bears

the burden of proof.” Disney Enters., Inc. v. Rea, 940 F. Supp. 2d 288, 292 (E.D. Va. 2013); see

Fregeau v. Mossinghoff, 776 F.2d 1034, 1038 (Fed. Cir. 1985) (In a § 145 action, “the applicant

has the laboring oar to establish error by the board.”); see also In re Morris, 127 F.3d 1048, 1056

(Fed. Cir. 1997) (“It is the applicant’s burden to precisely define the invention, not the PTO’s.”).

Mr. Hyatt agrees that he bears the burden of proof for the rejected claims because the USPTO has


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“made out a prima facie case.” ECF No. 62 at 5 n.10. Each of the claims in the ’211 application

was rejected by the Board for lack of written description. DX2011; DX2012. Thus, Mr. Hyatt

had the burden to prove that each of the claims was supported by the written description, and he

never even mentioned the “making a product” claims or the “making a product” claim language

during trial. 23

         198.      Second, even if Mr. Hyatt had put on evidence to support written description for

these “making a product” claims, this Court has already addressed claims taking the very same

form against the backdrop of the very same specification. These claims generally take the form of

“A process as set forth in claim X, further comprising the act of making a product.” See, e.g.,

DX2003.4 (claim 135). This Court has already addressed claims taking that form in Case No. 09-

1864, which involves an application with the identical specification to the ’211 application. Case

No. 09-1864, ECF No. 71 at 9-10 & n.4; see also ECF No. 75 at 2 n.1 (explaining that, like Case

No. 09-1864, “there are very similar claims at issue here”). In Case No. 09-1864, this Court

granted summary judgment that the “making a product” claims were not supported by the

specification and thus failed the written description requirement. Case No. 09-1864, ECF No. 71

at 12.

         199.      As the Court explained, the specification of the ’211 application includes examples

of “products” as varied as a video signal, a video disk storing an arcade game, rotating images,



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   Although Mr. Hyatt may have submitted evidence on the “making a product claims” “in the
administrative file history record” (Hyatt FF, ¶ 16), Mr. Hyatt should not decline to mention a
whole set of claims at trial and then raise them afterward based on the administrative record, having
passed on a chance to have the Court hear testimony on those claims. See generally Trial Tr. from
Pretrial Hearing, Nov. 28, 2017, 7:25-8:5 (Mr. Hyatt’s counsel: “We do want to make sure we
present evidence to the limitations in the claims to make sure that, you know, we have a developed
record on that. And so that we satisfy all limitations in the claims, and the Court has a basis to find
for us on all that.”).



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and guidance systems for “Star Wars R2D2 type robots.” Case No. 09-1864, ECF No. 71 at 12;

see DX2002.568. The Court further explained that nothing in the specification “would show one

of ordinary skill in the art that Mr. Hyatt possessed the full scope of these claims, nor that he

provided sufficient detail to demarcate what he was claiming.” Case No. 09-1864, ECF No. 71 at

12; see id. at 15. “This is no less true with respect to claims that have limiting terms such as

‘display’ or ‘signal.’” Id. at 16; see, e.g., DX2003.19 (claim 273 reciting “making a display

product”).

       200.    “It is not enough that the specification or applicant proclaim something to be

invented, for disclosure to be sufficient it must ‘reasonably convey[] to those skilled in the art that

the inventor had possession of the claimed subject matter as of the filing date.’” Case No. 09-

1864, ECF No. 71 at 16 (quoting Ariad Pharms., Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed.

Cir. 2010) (en banc)). Here, as this Court explained, “it is not actually clear what the outer

boundaries of the claimed invention are, but there is no need to specify the precise delimitation of

the claims as the Court finds the territory defined by examples so disparate [that it] necessarily

creates an area broader than that taught by the specification. That is to say, while Mr. Hyatt’s

application may well disclose something, it does not disclose the full scope of his product claims.”

Id. at 16-17. Mr. Hyatt cannot—consistent with this Court’s summary judgment decision—show

that the same “making a product” claims are adequately described by the same specification.

       201.    The Board rejected all of the claims for lack of written description, including the

“making a product” claims. The USPTO recognizes that the Board rejected only some of Mr.

Hyatt’s claims in this application on the basis of their “making a product” limitations (DX2011.19-

24; DX2012.7-9), and Mr. Hyatt has just recently abandoned all of the ones that the Board rejected

on that independent basis (supra ¶ 12 n.3). Nevertheless, this Court’s summary judgment




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reasoning on the “making a product” claims in Case No. 09-1864 applies equally to all of the

claims that contain those limitations and supersedes the Board’s reasoning on the issue.

       202.    As Mr. Hyatt well knows, in a district court action under 35 U.S.C. § 145, a party

may raise new issues. Kappos v. Hyatt, 132 S. Ct. 1690, 1694 (2012); Troy v. Samson Mfg. Corp.,

758 F.3d 1322, 1325 (Fed. Cir. 2014) (explaining that the Supreme Court in Kappos v. Hyatt “held,

without qualification, that ‘there are no evidentiary restrictions beyond those already imposed by

the Federal Rules of Evidence and the Federal Rules of Civil Procedure.’”); Hyatt FF, ¶ 554.

“[T]he district court must make its own findings de novo and does not act as the ‘reviewing court’

envisioned by the [Administrative Procedure Act]. . . . [T]he principles of administrative

exhaustion do not apply in a § 145 proceeding.” Troy, 758 F.3d at 1325. Thus, even though the

“making a product” claims that are currently pending were not rejected by the Board on the basis

of the “making a product” language, this Court should nevertheless find them unpatentable on that

basis, in the interest of consistency with the Court’s prior decision.

       203.    Indeed, Mr. Hyatt’s only argument on the “making a product” claims is that the

Board found the specific claim elements that he has not dropped at trial to be enabled and supported

by the written description. Hyatt FF, ¶¶ 499-505. But that argument does not take into account

this Court’s later, superseding decision on the same issue.

       204.    In sum, the Court should affirm the rejection of the “making a product” claims for

two reasons: (1) Mr. Hyatt did not put on any testimony to support the written description for

those claims; and (2) those claims suffer from the same defects as the claims in Case No. 09-1864,

based on the same specification. Because the ’211 specification’s disclosure warranted granting

summary judgment that the “making a product” claims were not described in Case No. 09-1864,

similarly, here, Mr. Hyatt cannot show that those claims are adequately described by the very same




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specification. Thus, in addition to the reasons discussed above, the following claims also fail for

lack of written description and lack of enablement because of the unsupported “making a product”

limitation: claims 132, 135, 152, 157, 160, 173, 174, 176, 177, 195, 197, 200, 211, 237, 238, 251,

253, 254, 256, 267, 269, 272, 273, 275, 277, 283, 288, 289, 291, 299, 307, 315, 317, 318, 323,

331, 332, 334-336, 340, 341, 343-346, 350-358, 360, 362-367, 369, 377, 379, 380, 382-384, 386,

388, 389, 391, 393, 395, 398, 401-404, 406, 408, 409, 411, 413, 414, 416-419, 421, 423, 425, 427,

430, 432, 433, 435-438, 440, 442, 445, 447, 448, 450, 452, 453, 455, 457, 458, 460-462, 464, 466,

468-471, 473-476, 478, 480, 481, 483-486, 488, 490, 492, 494, 495, and 497-499.

       H.      The evidence shows that the geometric multiplexer/demultiplexer/
               combiner is not enabled

       205.    Enablement is a separate inquiry from written description and is a question of law,

based on underlying facts. Sitrick v. Dreamworks, LLC, 516 F.3d 993, 999 (Fed. Cir. 2008). “In

order to satisfy the enablement requirement of § 112, paragraph 1, the specification must enable

one of ordinary skill in the art to practice the claimed invention without undue experimentation.

Thus, with respect to enablement the relevant inquiry lies in the relationship between the

specification, the claims, and the knowledge of one of ordinary skill in the art. If, by following

the steps set forth in the specification, one of ordinary skill in the art is not able to replicate the

claimed invention without undue experimentation, the claim has not been enabled as required by

§ 112, paragraph 1.” National Recovery Techs., Inc. v. Magnetic Separation Systems, Inc., 166

F.3d 1190, 1196 (Fed. Cir. 1999).

       206.    In National Recovery Technologies, the Federal Circuit held that the specification

was not enabling even though it “recognizes a specific need in the [technical] field and suggests a

theoretical answer to that need. It provides a starting point from which one of skill in the art can

perform further research in order to practice the claimed invention, but this is not adequate to



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constitute enablement.” National Recovery Techs., 166 F.3d at 1198. The Federal Circuit has

also, for example, affirmed summary judgment of lack of enablement where the specification

provided only a short conceptual description of the claimed electronic sensor. Automotive

Technologies Int’l, Inc. v. BMW of North America, Inc., 501 F.3d 1274, 1284 (Fed. Cir. 2007). In

that case, the Court rejected the patentee’s argument that the knowledge of one of skill in the art

made up for any deficiencies in the conceptual disclosure. Id.

       207.    Dr. Castleman opined that a person of ordinary skill in the art reading Mr. Hyatt’s

specification would not know how to make the geometric multiplexer/demultiplexer/combiner to

allow for multiple channels, and multiple channels are required to implement every claim. Supra

¶¶ 32-40. He explained that, with each additional channel, “it’ll become harder and harder to

implement the circuitry to make those control decisions in the small amount of time that’s

available.” Trial Tr., Jan 18, 2018, 140:20-141:1. Dr. Castleman also explained that he “found

about a page and a half of guidance of how to build that device. There’s a lot of discussion of how

to use it, of what it could do if you had it, all the nice things that would happen if you had one of

these things. But when it comes down to how to build it, I found precious little in the specification

to indicate or to give guidance as to how to solve all the problems one would run into, especially

in 1984, trying to build one of these things.” Trial Tr., Jan. 18, 2018, 139:1-13 (referring to

DX2002.469-470 and DX2002.472-473, see Trial Tr., Jan. 18, 2018, 141:2-14); Hyatt FF, ¶ 144-

145 (discussing what geometric multiplexer/demultiplexer/combiner can allegedly do but not how

to build it). And, of course, Mr. Hyatt created an experimental system but never implemented a

system with multiple channels or with a geometric multiplexer/demultiplexer/combiner. Supra

¶¶ 33, 37, 40. In other words, making the geometric multiplexer/demultiplexer/combiner would

require undue experimentation. National Recovery Techs., 166 F.3d at 1196.




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       208.    An inventor’s failure to attempt to make a claimed system supports a determination

that the system is not enabled. See, e.g., Ormco Corp. v. Align Technology, Inc., 498 F.3d 1307,

1318-19 (Fed. Cir. 2007) (affirming summary judgment of non-enablement where “one of the

inventors of the Ormco patents[ ] testified that Ormco had never attempted to create” the claimed

automated system but had only made one involving human decision making).

       209.    Dr. Castleman did not use the specific word “enablement” in testifying that the

reader’s inability to make the geometric multiplexer/demultiplexer/combiner amounts to a lack of

enablement. But Dr. Castleman is not an expert in patent law. Trial Tr., Jan. 19, 2018, 238:21-

239:4. And what he stated about the reader’s inability to make the multiplexer amounts to a

conclusion that the multiplexer is not enabled. Regardless, experts are relied upon to give their

expert testimony about the facts of the case, not the legal conclusions. High Point Design LLC v.

Buyers Direct, Inc., 730 F.3d 1301, 1313 (Fed. Cir. 2013) (“Although obviousness is assessed

from the vantage point of an ordinary designer in the art, an expert’s opinion on the legal

conclusion of obviousness is neither necessary nor controlling. That said, an expert’s opinion may

be relevant to the factual aspects of the analysis leading to that legal conclusion.” (citations and

quotation marks omitted)).

       210.    Furthermore, every claim at issue requires a geometric multiplexer/demultiplexer/

combiner. See, e.g., PTX912.123 (diagramming claim 172, with an orange box showing the

“Geometric Mux/Demux Combiner 110D” that allows the windows and menu to be overlaid on

each other and then allows images to be displayed). Because Mr. Hyatt never built a system with

such a multiplexer and did not, in his specification, enable a person of ordinary skill to build a

system with such a multiplexer, this Court should hold that Mr. Hyatt’s claims are not enabled.




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       I.      This Court should give Mr. Hyatt’s new evidence little weight based on
               his failure to offer any of it before the USPTO

       211.    While Mr. Hyatt was entitled to offer new evidence in this § 145 action, the

Supreme Court has explained that “[i]n deciding what weight to afford that evidence, the district

court may . . . consider whether the applicant had an opportunity to present the evidence to the

PTO.” Kappos, 566 U.S. at 434. The Supreme Court further stated that “the proper means for the

district court to accord respect to decisions of the PTO is through the court’s broad discretion over

the weight to be given to evidence newly adduced in the § 145 proceedings.” Id. at 445.

       212.    During prosecution, Mr. Hyatt was put on notice by the examiner that he needed to

explain how the ’211 specification provides written description support for his claims. See, e.g.,

PTX4.6055 (nonfinal office action of Aug. 23, 1998); PTX4.5746-5756 (final office action of Aug.

27, 1999). The examiner explained that Mr. Hyatt had not shown “disclosure directed to [the]

claimed interconnections and interrelations,” which he would need to overcome the rejections.

PTX4.6066.

       213.    Yet before the USPTO, Mr. Hyatt never attempted to offer any explanation of how

the ’211 specification provides written description support for any claim until he filed his appeal

brief to the Board, when he discussed only claim 172. PTX4.4785.

       214.    Mr. Hyatt’s failure to offer any written description explanation is evident in the

Board decision. The Board explained that, had Mr. Hyatt “shown support in his original disclosure

for each of the new claims when he filed his amendments, he might have preempted a written

description rejection thereof. [Mr. Hyatt] chose not to do so.” DX2011.8 (emphasis in original).

       215.    Mr. Hyatt has not offered an explanation for why he declined to provide a written

description analysis during prosecution, even when the examiner repeatedly explained that the

specification lacked written description for the products that were claimed, and Mr. Hyatt



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repeatedly had the opportunity to respond. Now, during trial, Mr. Hyatt has offered a specific

written description analysis, both through his own testimony and the testimony of Mr. Hite.

       216.    The Supreme Court has explained that the new evidence offered by a patent

applicant may be weighed based on “whether the applicant had an opportunity to present the

evidence” to the USPTO. Kappos, 566 U.S. at 434. This Court should give the new evidence little

weight because Mr. Hyatt failed to offer a specific written description explanation before the

agency even though he was provided the opportunity to do so. Instead, Mr. Hyatt waited until the

case reached this Court before first offering a specific explanation of how the ’211 specification

allegedly provides written description support for the claims.

       217.    During the Kappos v. Hyatt Supreme Court case, the USPTO noted its concern

about applicants intentionally withholding evidence before the agency and then presenting that

evidence to a district court: “The Director warns that allowing the district court to consider all

admissible evidence and to make de novo findings will encourage patent applicants to withhold

evidence from the PTO intentionally with the goal of presenting that evidence for the first time to

a nonexpert judge.” Kappos, 566 U.S. at 445. The Supreme Court dismissed this scenario as

“unlikely” because an applicant would “would be intentionally undermining his claims before the

PTO on the speculative chance that he will gain some advantage in the § 145 proceeding by

presenting new evidence to a district court judge.” Id.

       218.    This scenario that the USPTO identified in the Supreme Court case involving Mr.

Hyatt, a scenario that the Supreme Court dubbed “unlikely,” is exactly what has played out in this

§ 145 action involving Mr. Hyatt. A patent applicant has withheld evidence from the agency

during prosecution, and then put that evidence in front a district court in a § 145 action. While the

USPTO does not know what Mr. Hyatt’s motive was for pursuing this strategy, there must be some




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negative consequence for his choice to withhold evidence while before the agency only to offer

the evidence in the § 145 action. The USPTO is the expert agency tasked with examining patent

applications and issuing patents, and Mr. Hyatt’s actions have frustrated the agency’s ability to

carry out its statutory function. In addition, Mr. Hyatt’s strategy forces this Court to become a

patent examiner and assess the written description evidence in the first instance, without any

guidance or insight from the agency. See Star Fruits S.N.C. v. United States, 280 F. Supp. 2d 512,

516 (E.D. Va. 2003) (“This result would, in our opinion, turn a federal court into a super patent

examiner, a role far beyond its proper judicial authority.”). This is not the way that patent

prosecution should work, and Mr. Hyatt should not be rewarded for refusing to answer the

agency’s inquiries and waiting until this § 145 action to first attempt to explain how his claims

satisfy the written description requirement.

        J.      Dr. Castleman offered credible testimony

        219.    Mr. Hyatt generally attacks Dr. Castleman’s credibility as an expert witness. E.g.,

Hyatt FF ¶¶ 506-514. This attack is unpersuasive.

        220.    As an initial matter, Mr. Hite sat through the entire trial in this case, and he has not

questioned Dr. Castleman’s credibility as a witness. For example, even after having sat through

the entire trial, in the next trial he continued to agree that Dr. Castleman is qualified to serve as an

expert witness with respect to this same specification. Trial Tr. (Case No. 09-1864), Feb. 14, 2018,

355:12-20; see also Trial Tr., Jan. 18, 2018, 37:23-25.

        221.    In questioning Dr. Castleman’s credibility, Mr. Hyatt ignores the issues with his

own expert, Mr. Hite. Mr. Hite’s testimony amounted to little more than a verbatim recitation of

a 366-page slide presentation that laid out the positions that Mr. Hite was to take during the direct

examination. See, e.g., PTX912.2-3. Mr. Hite had difficulty recalling basic, central concepts—




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like what field of expertise would be the relevant one for evaluating the written description of the

claims at issue—without the help of the slide presentation. Trial Tr., Jan. 18, 2018, 36:9-24.

        222.    Mr. Hite’s conclusions regarding whether the claims at issue met the required

standards of written description are not helpful to the court because Mr. Hite did not demonstrate

to the court that he had a basic understanding of those standards. Mr. Hite could not correctly

explain the test for compliance with the written description requirement, or even come close.

Specifically, Mr. Hite testified that, to determine that an inventor had “possession” of an invention

for written description purposes, one would have to show that the invention “was original and

distinguishable from what existed at the time.” Id. at 35:18-25. Comparing the claimed invention

to the prior art is not relevant to the written description analysis, but is relevant to anticipation and

obviousness. See Cohesive Techs., Inc. v. Waters Corp., 543 F.3d 1351, 1364 (Fed. Cir. 2008)

(“Obviousness can be proven by combining existing prior art references, while anticipation

requires all elements of a claim to be disclosed within a single reference.”).

        223.    In contrast, Dr. Castleman accurately explained the written description test, from

memory, without any assistance or prompting. See Trial Tr., Jan. 18, 2018, 113:5-114:18.

        224.    Dr. Castleman accurately stated the legal standard governing the possession portion

of the written description requirement when he testified that “by possessed, we knew he understood

the invention, that he knew how to make it, and he knew how to use it.” Hyatt FF, ¶¶ 506-507

(quoting Trial Tr., Jan. 18, 2018, 113:5-13). Mr. Hyatt erroneously charges that Dr. Castleman

misstated the standard (Hyatt FF, ¶ 507), but the Federal Circuit has described the written

description requirement in just those terms—as an ability to make and use the invention plus more.

“The purpose of the ‘written description’ requirement is broader than to merely explain how to

‘make and use’; the applicant must also convey with reasonable clarity to those skilled in the art




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that, as of the filing date sought, he or she was in possession of the invention.” Vas-Cath Inc. v.

Mahurkar, 935 F.2d 1555, 1563-64 (Fed. Cir. 1991); see Ariad, 598 F.3d at 1353 (applicant

must—as of the filing date—“conceive of the complete and final invention with all its claimed

limitations [] and disclose the fruits of that effort to the public.”). Mr. Hyatt asserts that Dr.

Castleman’s view is wrong because it intertwines the written description and enablement

requirements (Hyatt FF, ¶ 507), but the Federal Circuit has similarly explained that the written

description and enablement “requirements may be viewed separately, but they are intertwined.”

Kennecott Corp. v. Kyocera Int’l, Inc., 835 F.2d 1419, 1421 (Fed. Cir. 1987); see LizardTech, Inc.

v. Earth Resource Mapping, Inc., 424 F.3d 1336, 1344-45 (Fed. Cir. 2005) (describing the

enablement and written description requirements as “two closely related requirements” that

“usually rise and fall together”).

       225.    Dr. Castleman further elaborated that he understands that the written description

and enablement requirements “have been dealt with in the courts over the years. They’re

acknowledged to be similar, but they are different.          And basically the written description

requirement is that the application should be able to persuade one of skill in the art that the inventor

possessed the invention. And if he can make and use it, he definitely does possess it.” Trial Tr.,

Jan. 19, 2018, 224:16-225:2.

       226.    Dr. Castleman rendered his expert opinion that Mr. Hyatt’s disclosed version of

three dimensional imagery requires multiple channels. Mr. Hyatt disputes this testimony. Hyatt

FF, ¶ 84. But Mr. Hite—Mr. Hyatt’s own expert—similarly explained that, to implement 3D

perspective, multiple “overlays” would be “independently processed.” Trial Tr., Dec. 5, 2017,

PM, 71:5-14; see Trial Tr., Dec. 4, 2017, PM, 63:7-14 (Mr. Hyatt similarly explaining that he

would use multiple channels to implement a form of 3D perspective with an aircraft “moving at a




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relatively fast speed and a relatively large size in the foregrounds” and mountains “moving at a

very slow speed, and a compressed form in the background”). And Mr. Hite agreed that, to create

the particular three dimensional effect that Mr. Hyatt had described in his testimony of looking out

the side of a moving car, you would move trees in the foreground independently of mountains in

the background, requiring multiple channels. Trial Tr., Jan. 18, 2018, 42:9-20.

       227.    And Mr. Hyatt attacks Dr. Castleman for his claim interpretation positions. Hyatt

FF, ¶¶ 201, 208-224, 236. But Mr. Hite simply refused to take a position on claim interpretation

at all, instead asserting that his job was not to interpret claims. Supra ¶¶ 88-90.

       228.    Dr. Castleman’s testimony as to the sufficiency of the written description for the

’211 application carries more weight than Mr. Hite’s testimony, because Dr. Castleman was a

person of ordinary skill on the date the specification was filed. Trial Tr., Jan. 18, 2018, 114:5-18.

Mr. Hite, on the other hand, did not obtain the minimum qualifications until 1994, which was ten

years after Mr. Hyatt filed the ’211 specification and only five years before Mr. Hyatt filed the

1999 claims at issue in this case. Trial Tr., Jan. 18, 2018, 37:10-22.

       K.      This Court should give Mr. Hyatt’s written description testimony little
               to no weight

       229.    During the trial, Mr. Hyatt testified as a fact witness in support of his own case.

Mr. Hyatt offered opinion testimony to support his position that the ’211 specification provides

written description support for the claims at issue. Specifically, Mr. Hyatt addressed certain claim

limitations and provided his understanding of how those claim limitations find written description

support in the specification. See, e.g., Trial Tr., Dec. 4, 2017, AM, 55:14-19; Trial Tr., Dec. 4,

2017, PM, 4:13-9:18; id. at 35:7-38:1; id. at 47:2-50:23.

       230.    Mr. Hyatt’s slide presentation quoted portions of the USPTO’s pretrial statement

where the USPTO summarized the written description disputes, and then Mr. Hyatt testified



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regarding his understanding of how the claim or claims at issue find written description support in

the ’211 specification. See, e.g., PTX910.112-135; Trial Tr., Dec. 5, 2017, AM, 14:17-34:17

(discussing USPTO’s pretrial statement at 29:14-30:2).

       231.    Both Mr. Hyatt and the USPTO have retained expert witnesses for this case, and

the experts provided extensive opinion testimony regarding the written description requirement.

This testimony was intended to be from the objective view of one of ordinary skill in the art, and

the experts were permitted to offer opinions based on their specialized knowledge and experience.

See, e.g., Trial Tr., Dec. 6, 2018, AM, 20:20-21:6; id. at 52:14-21; Trial Tr., Jan. 18, 2018, 139:14-

24; id. at 161:3-21; Fed. R. Evid. 702. On the other hand, Mr. Hyatt has not been designated as an

expert witness in this case and has not authored any expert reports.

       232.    There are three reasons why this Court should give Mr. Hyatt’s opinion testimony

little to no weight. First, because Mr. Hyatt was not an expert witness, his testimony should be

limited to factual issues within the scope of his personal knowledge. Mr. Hyatt was permitted to

provide the Court with a background understanding of his patent applications and the relevant

technology at issue. See, e.g., Voice Techs. Group, Inc. v. VMC Sys., Inc., 164 F.3d 605, 615 (Fed.

Cir. 1999) (stating that an inventor may testify to explain the invention). But, to the extent that

Mr. Hyatt intended to offer opinion testimony as a fact witness, he was not permitted to do so

under Fed. R. Evid. 701(c), which precludes opinion testimony from lay witnesses if such opinion

testimony is “based on scientific, technical or other specialized knowledge.” Fed. R. Evid. 701(c).

The USPTO objected to Mr. Hyatt’s testimony on that basis. Trial Tr. (Case No. 09-1872), Nov.

13, 2017, AM, 45:10-18.

       233.    Second, the Federal Circuit has found that inventor testimony is not helpful in

determining patent validity. See Solomon v. Kimberly-Clark Corp., 216 F.3d 1372, 1379-80 (Fed.




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Cir. 2000). The Court in Solomon held that “[i]t is particularly inappropriate to consider inventor

testimony obtained in the context of litigation in assessing validity under section 112, paragraph

2, in view of the absence of probative value of such testimony.” Id. at 1379. The current case

primarily focuses the written description requirement in 35 U.S.C. § 112, ¶ 1 (with the definiteness

requirement of § 112, ¶ 2 also at issue). Regardless, the USPTO sees no reason why that distinction

matters, as both rely on what the specification itself conveys to the reader.

       234.    Third, with respect to the written description requirement, the Federal Circuit has

explained that the inquiry focuses on whether the specification itself conveys to a person of

ordinary skill in the art that the inventor possessed the claimed invention. See Ariad Pharms., Inc.

v. Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010) (en banc) (explaining that the written

description test “requires an objective inquiry into the four corners of the specification from the

perspective of a person of ordinary skill in the art”); New Railhead Mfg., LLC v. Vermeer Mfg.

Co., 298 F.3d 1290, 1295 (Fed. Cir. 2002) (“The adequacy of the written description . . . is

measured from the face of the application.”). Therefore, the Court’s written description analysis

should focus on the specification, and Mr. Hyatt’s testimony about what he believes is described

in the specification cannot be used to supplement or modify the specification’s disclosure.

       235.    Indeed, although the specification is supposed to speak for itself, Mr. Hyatt’s

counsel repeatedly had to ask him what he meant by the words in his specification. Trial Tr., Dec.

4, 2017, PM, 46:11 (Q. about PTX4.8024 or DX2002.545 “What are you trying to convey here?”),

49:3-4 (about PTX4.8000 or DX2002.521), 50:14-15, 52:23-24, 73:23-24, 74:14-21, 77:10-15,

70:3 (Q. about PTX4.7948 or DX2002.469 “What did you mean by that?”).

       236.    Further, Mr. Hyatt asserts that he wrote his specification in a “top-down” manner

with the more general description first and the more detailed description coming later. Hyatt FF,




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¶¶ 47-50, 56. He asserts that he did this because that is the most comprehensible way to read a

specification. Hyatt FF, ¶ 49. But Mr. Hyatt’s specification does not even read in a top-down

order, instead having a more general figure, 6A, coming after many more detailed figures, e.g., 2I,

1K, and 2H. See Hyatt FF, ¶¶ 50, 56. The specification similarly discusses figure 6A after it

discusses the more detailed figures 2I, 1K, and 2H. DX2002.

       237.    In fact, Mr. Hyatt’s drafting techniques led the examiner at one point to explain, for

example, that his claim language was “incomprehensible.” PTX4.6723. A claim reciting “an input

circuit generating a sequence of input words in response” contained at least the following

problems: (1) it was not clear what information was “contained in the ‘input words’” because it

was “impossible to determine whether these words are sub-units of previous image information,

or if they represent information extracted from previous image information, or if they represent

something else entirely”; (2) there was no clear connection between the image memory/processor

and the rest of the claimed apparatus; (3) the word “simultaneous” was used in the claim without

stating what was simultaneous with what; (4) there was no meaningful interconnection between

the claimed input, output, and memories; (5) the same claim recited “[p]rocessing the plurality of

memories between an input memory . . . and a plurality of output memories,” which was

“incomprehensible”; and (6) it was not clear how, if at all, “processing memories” involves input

and output. PTX4.6723.

       238.    All of that is why it is affirmatively good that Dr. Castleman “lacks first-hand

knowledge of what Mr. Hyatt intended to convey with” documents from prosecution like his reply

brief. Hyatt FF, ¶ 223. Just like Dr. Castleman, the person of ordinary skill in the art has no way

to know what Mr. Hyatt intended to convey. Dr. Castleman has “no special insights into the

workings of Mr. Hyatt’s mind.” Trial Tr., Jan. 19, 2018, 244:12-20. Mr. Hyatt may know exactly




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what he intended to convey, but what he intended to convey is irrelevant. What matters is what a

reader of ordinary skill in the art—like Dr. Castleman or another third party—would understand

from reading those documents. See Ariad, 598 F.3d at 1351.

        239.    In sum, given the fact that: (1) Mr. Hyatt was not an expert witness and could only

testify as to his personal knowledge; (2) the Federal Circuit has found that inventor testimony is

not helpful in determining patent validity; and (3) the written description inquiry focuses on how

the ordinary artisan would understand what is disclosed within the four corners of the specification,

not on what the applicant intended to convey, this Court should give little to no weight to Mr.

Hyatt’s testimony explaining how the claims at issue find written description support in the ’211

specification. 24

        L.      The USPTO dropped its obviousness contentions, but that does not
                render the prior art irrelevant to the section 112 issues in this case

        240.    As the USPTO explained during summary judgment briefing (ECF No. 57 at 3), it

never intended to pursue the Board’s obviousness rejections during trial. Mr. Hyatt attempts to

convert that into an argument that the USPTO cannot now rely on prior art to show the Court the

problems with Mr. Hyatt’s case. Hyatt FF, ¶¶ 15, 513. But the fact that the USPTO did not pursue

obviousness rejections here does not render the prior art irrelevant to the claim construction and

section 112 inquiries. All of those inquiries focus on the knowledge of a person of ordinary skill

in the art at the time of the invention. Phillips v. AWH Corp., 415 F.3d 1303, 1313 (Fed. Cir. 2005)

(en banc); Boston Scientific Corp. v. Johnson & Johnson Inc., 647 F.3d 1353, 1366 (Fed. Cir.




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  The USPTO made a similar argument in a motion in limine. See ECF No. 203. The USPTO’s
motion in limine was directed to the admissibility of the evidence, and this argument relates to the
weight that the Court gives that evidence.



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2011). Thus, they require knowing what that person would have known, which includes things

like the Apple manual the USPTO discussed at trial.

                                          CONCLUSION

        241.    Pursuant to Fed. R. Civ. P. 52, the Court should render judgment in favor of the

USPTO and against Mr. Hyatt.

        242.    The Court should find that Mr. Hyatt has not demonstrated that the USPTO erred

in rejecting all of the pending claims in the ’211 application.

        243.    Even if the Court were to find error in some or all of the rejections at issue, the

Court should not hold “that Mr. Hyatt is entitled to a patent” on those claims, as Mr. Hyatt contends

(Hyatt FF, p. 1 and ¶ 574). The Court can reverse pending rejections, but when the application

returns to the USPTO, “the Patent Office can always reopen prosecution and cite new [prior art]

references.” In re Gould, 673 F.2d 1385, 1386 (CCPA 1982) (quoting In re Fisher, 448 F.2d 1406,

1407 (CCPA 1971)); see also In re Arkley, 455 F.2d 586, 589 (CCPA 1972) (reversing an

anticipation rejection, but suggesting that the USPTO could re-open prosecution and make an

obviousness rejection). As the Federal Circuit has explained, a court in a § 145 action does not

have the authority to direct the USPTO to issue a patent. Gould v. Quigg, 822 F.2d 1074, 1079

(Fed. Cir. 1987) (“Turning now to the issue of whether the district court has authority to direct the

issuance of a patent, we conclude it does not.”). A court’s role in a § 145 action is limited to

“resolv[ing] questions of patentability to the extent issues are raised at trial.” Id.

        244.    Regardless of the outcome, the Court should award the USPTO “[a]ll the expenses

of the proceedings” as required by 35 U.S.C. § 145.




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Dated: March 2, 2018                Respectfully submitted,


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